No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 1 of
                                        90
         No. 1:17-bk-00021           Doc 763         Filed 02/04/20          Entered 02/04/20 10:21:23   Page 2 of    Page 2
                                                               90
B 25C (Official Form 25C) (12/08)

14. HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY THIS MONTH?
15. DID ANY INSURANCE COMPANY CANCEL YOUR POLICY THIS MONTH?
16. HAVE YOU BORROWED MONEY FROM ANYONE THIS MONTH?
17. HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS THIS MONTH?
18. HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?


                                                    TAXES
DO YOU HAVE ANY PAST DUE TAX RETURNS OR PAST DUE POST-PETITION TAX
OBLIGATIONS?
IF YES, PLEASE PROVIDE A WRITTEN EXPLANATION INCLUDING WHEN SUCH RETURNS WILL
BE FILED, OR WHEN SUCH PAYMENTS WILL BE MADE AND THE SOURCE OF THE FUNDS FOR
THE PAYMENT.
                                                    (Exhibit A)



                                                    INCOME
PLEASE SEPARATELY LIST ALL OF THE INCOME YOU RECEIVED FOR THE MONTH. THE LIST
SHOULD INCLUDE ALL INCOME FROM CASH AND CREDIT TRANSACTIONS. (THE U.S. TRUSTEE
MAY WAIVE THIS REQUIREMENT.)
                                                                                         TOTAL INCOME    $   128,222.53
                                     SUMMARY OF CASH ON HAND
                                        Cash on Hand at Start of Month                                   $   113,132.50
                                        Cash on Hand at           of Month                               $    91,422.14
PLEASE PROVIDE THE TOTAL AMOUNT OF CASH CURRENTLY AVAILABLE TO YOU                              TOTAL    $    91,422.14
                                                    (Exhibit B)


                                                  EXPENSES
PLEASE SEPARATELY LIST ALL EXPENSES PAID BY CASH OR BY CHECK FROM YOUR BANK
ACCOUNTS THIS MONTH. INCLUDE THE DATE PAID, WHO WAS PAID THE MONEY, THE
PURPOSE AND THE AMOUNT. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)
                                                                                       TOTAL EXPENSES    $   149,932.89
                                                    (Exhibit C)


                                                CASH PROFIT
INCOME FOR THE MONTH (TOTAL FROM EXHIBIT B)                                                              $   128,222.53
EXPENSES FOR THE MONTH (TOTAL FROM EXHIBIT C)                                                            $   149,932.89
                                    (Subtract Line C from Line B)        CASH PROFIT FOR THE MONTH       $   (21,710.36)
         No. 1:17-bk-00021          Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 3 of    Page 3
                                                        90
B 25C (Official Form 25C) (12/08)



                                          UNPAID BILLS


PLEASE ATTACH A LIST OF ALL DEBTS (INCLUDING TAXES) WHICH YOU HAVE INCURRED
SINCE THE DATE YOU FILED BANKRUPTCY BUT HAVE NOT PAID. THE LIST MUST INCLUDE
THE DATE THE DEBT WAS INCURRED, WHO IS OWED THE MONEY, THE PURPOSE OF THE
DEBT AND WHEN THE DEBT IS DUE. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)
                                                                         TOTAL PAYABLES $ 140,952.15
                                              (Exhibit D)


                                      MONEY OWED TO YOU
PLEASE ATTACH A LIST OF ALL AMOUNTS OWED TO YOU BY YOUR CUSTOMERS FOR WORK
YOU HAVE DONE OR THE MERCHANDISE YOU HAVE SOLD. YOU SHOULD INCLUDE WHO
OWES YOU MONEY, HOW MUCH IS OWED AND WHEN IS PAYMENT DUE. (THE U.S. TRUSTEE MAY
WAIVE THIS REQUIREMENT.)
                                                                      TOTAL RECEIVABLES $        0.00
                                              (Exhibit E)


                                      BANKING INFORMATION
PLEASE ATTACH A COPY OF YOUR LATEST BANK STATEMENT FOR EVERY ACCOUNT YOU
HAVE AS OF THE DATE OF THIS FINANCIAL REPORT OR HAD DURING THE PERIOD COVERED
BY THIS REPORT.


                                              (Exhibit F)


                                          EMPLOYEES
NUMBER OF EMPLOYEES WHEN THE CASE WAS FILED?                                                     29
NUMBER OF EMPLOYEES AS OF THE DATE OF THIS MONTHLY REPORT?                                       20


                                       PROFESSIONAL FEES
BANKRUPTCY RELATED:
PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID DURING THIS REPORTING
PERIOD?                                                                                    $    0.00
TOTAL PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID SINCE THE FILING
OF THE CASE?                                                                               $    111,650.00
NON-BANKRUPTCY RELATED:
PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID DURING THIS
REPORTING PERIOD?                                                                          $     0
TOTAL PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID SINCE THE
FILING OF THE CASE?                                                                        $      0
         No. 1:17-bk-00021               Doc 763    Filed 02/04/20     Entered 02/04/20 10:21:23   Page 4 of   Page 4
                                                              90
B 25C (Official Form 25C) (12/08)




                                                PROJECTIONS


COMPARE YOUR ACTUAL INCOME AND EXPENSES TO THE PROJECTIONS FOR THE FIRST 180
DAYS OF YOUR CASE PROVIDED AT THE INITIAL DEBTOR INTERVIEW.
                                    Projected                 Actual                 Difference
INCOME                 $ See attached               $ See attached           $ See attached
EXPENSES               $ See attached               $ See attached           $ See attached
CASH PROFIT            $ See attached               $   See attached         $   See attached


TOTAL PROJECTED INCOME FOR THE NEXT MONTH:                                                         $   108,683.00
TOTAL PROJECTED EXPENSES FOR THE NEXT MONTH:                                                       $  118,365.00
TOTAL PROJECTED CASH PROFIT FOR THE NEXT MONTH:                                                    $ (9,682.00)




                                                   ADDITIONAL INFORMATION

PLEASE ATTACH ALL FINANCIAL REPORTS INCLUDING AN INCOME STATEMENT AND BALANCE SHEET
WHICH YOU PREPARE INTERNALLY.
No. 1:17-bk-00021    Doc 763    Filed 02/04/20    Entered 02/04/20 10:21:23       Page 5 of
                                          90
  Emerald Grande, LLC
  Case Number 17-00021
  Period Ending: 12/31/2019


  Attachment to Page 1 – Question 2 – Paid All Bills on Time
  Past due amounts for vendor invoices will be paid when approved by the bank.

  Attachment to Page 1 – Question 5 – Tax Returns Filed and Paid on Time and Page
  2 -Taxes
  The 2017 and 2018 Federal and state partnership income tax returns for Emerald Grande
  that were due on September 17, 2018 and September 16, 2019 have not been filed. The
  returns will be filed as soon as the information can be compiled to file complete and
  accurate returns.

  In addition, at the Summersville location B&O tax, accrued as $3,251.68 due in October,
  have not been paid.

  Attachment to Page 4 – Additional Information
  Balance Sheets and Profit and Loss Statements are provided for each location; La Quinta
  Inn & Suites Summersville, La Quinta Inn & Suites Elkview and Kanawha City Rental
  Real Estate. Some Balance Sheet accounts have not been analyzed and will be adjusted
  as additional information becomes available.
      No. 1:17-bk-00021               Doc 763      Filed 02/04/20            Entered 02/04/20 10:21:23           Page 6 of
Emerald Grande, LLC                                          90
Total Income
December 1, 2019- December 31, 2019
Attachment to Pages 2 - 4

                                                 La Quinta Inns      La Quinita Inns Kanawha City, WV       Total
                                                  Elkview, WV       Summersville, WV Rental Real Estate    Income
Exhibit B - Total Income (See Deposit Detail
Report)                                                97,865.21               10.39          30,346.93     128,222.53
Summary of Cash on Hand
Cash on Hand at Start of Month                         19,349.01           51,820.86          41,962.63     113,132.50
Cash on Hand at End of Month (See
Reconciliation Summary)                                13,176.65           35,650.24          42,595.25      91,422.14
Total Cash Available                                   13,176.65           35,650.24          42,595.25      91,422.14


Exhibit C - Total Expenses (See Disbursement
Detail Report)                                       104,037.57            16,181.01          29,714.31     149,932.89

Cash Profit
Income for the Month (Total from Exhibit B)           97,865.21                10.39          30,346.93     128,222.53
Expenses for the Month (Total from Exhibt C)         104,037.57            16,181.01          29,714.31     149,932.89
Cash Profit for the Month                             (6,172.36)          (16,170.62)            632.62     (21,710.36)

Total Payables (See A/P Aging Summary Post-
Petition)                                              63,976.33           63,559.14          13,416.68     140,952.15

Total Receivables                                            -                   -                  -               -

Employees
Number of Employees When Case was Filed                     5.00               24.00                -            29.00
Number of Employees as of Date of this Monthly
Report                                                     20.00                 -                  -            20.00

Professional Fees
Bankruptcy Related
Professional Fees Relating to Bankruptcy Paid
During Period                                           4,000.00            4,000.00           2,000.00      10,000.00
Professional Fees Relating to Bankruptcy Paid
Since Filing Case                                      45,500.00           46,000.00          20,150.00     111,650.00

Non-Bankruptcy Related
Professional Fees Not Relating to Bankruptcy
Paid During Period                                           -                   -                  -               -
Professional Fees Not Relating to Bankruptcy
Paid Since Filing Case                                       -                   -                  -               -

Projections
Income Projected                                     130,019.00                  -            39,025.00     169,044.00
Expenses Projected                                   108,890.00           (11,841.00)         66,725.00     163,774.00
Cash Profit Projected                                 21,129.00            11,841.00         (27,700.00)      5,270.00

Income Actual                                         97,865.21                10.39          30,346.93     128,222.53
Expenses Actual                                      104,037.57            16,181.01          29,714.31     149,932.89
Cash Profit Actual                                    (6,172.36)          (16,170.62)            632.62     (21,710.36)

Income Difference                                     (32,153.79)              10.39          (8,678.07)    (40,821.47)
Expenses Difference                                    (4,852.43)          28,022.01         (37,010.69)    (13,841.11)
Cash Profit Difference                                (27,301.36)         (28,011.62)         28,332.62     (26,980.36)
1:45 PM                       No. 1:17-bk-00021               Doc La
                                                                  763Quinta Inns
                                                                        Filed    & Suites Entered
                                                                              02/04/20    - Elkview, WV
                                                                                                   02/04/20 10:21:23                Page 7 of
01/17/20                                                                Deposit Detail Report
                                                                                   90
Cash Basis                                                                        December 2019

             Type      Date       Num        Name                 Memo                            Account            Class   Clr                  Split               Debit

Dec 19
      Deposit       12/02/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 3,209.91
      Deposit       12/02/2019              La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/02/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   130.04
      Deposit       12/02/2019              Ameri...    Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/02/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           13.50
      Deposit       12/02/2019              Cash ...    Report Date on 11-25-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/02/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           11.15
      Deposit       12/02/2019              Cash ...    Report Date on 11-26-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/02/2019                          Deposit                   10525 · DDA UB OP 9483                     X     -SPLIT-                                481.70
      Deposit       12/02/2019              Cash ...    Report Date on 11-27-19   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/02/2019              Cash ...    Report Date on 11-27-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/02/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue            5.00
      Deposit       12/02/2019              Cash ...    Report Date on 11-28-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/02/2019                          Deposit                   10525 · DDA UB OP 9483                     X     -SPLIT-                                116.13
      Deposit       12/02/2019              Cash ...    Report Date on 11-28-19   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/02/2019              Cash ...    Report Date on 11-28-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/02/2019                          Deposit                   10525 · DDA UB OP 9483                     X     -SPLIT-                                136.68
      Deposit       12/02/2019              Cash ...    Report Date on 11-30-19   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/02/2019              Cash ...    Report Date on 11-30-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/02/2019                          Deposit                   10525 · DDA UB OP 9483                     X     -SPLIT-                                121.28
      Deposit       12/02/2019              Cash ...    Report Date on 12-01-19   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/02/2019              Cash ...    Report Date on 12-01-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/03/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 2,798.04
      Deposit       12/03/2019              La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/03/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   300.16
      Deposit       12/03/2019              Ameri...    Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/03/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 3,058.11
      Deposit       12/03/2019              La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/03/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 3,039.80
      Deposit       12/03/2019              La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/04/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 1,156.93
      Deposit       12/04/2019              La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/04/2019                          Deposit                   10525 · DDA UB OP 9483                     X     80450 · Property Insurance          12,473.84
      Deposit       12/04/2019   91605...   Crawf...    Insurance Claim Payment   80450 · Property Insurance                       10525 · DDA UB OP 9483
      Deposit       12/05/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 2,331.30
      Deposit       12/05/2019              La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/05/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                       77.62
      Deposit       12/05/2019              Ameri...    Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/06/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   952.72
      Deposit       12/06/2019              La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/06/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   287.72
      Deposit       12/06/2019              Ameri...    Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/09/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 1,765.88
      Deposit       12/09/2019              La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/09/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   533.46
      Deposit       12/09/2019              Ameri...    Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/09/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           17.53
      Deposit       12/09/2019              Cash ...    Report Date on 12-02-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/09/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue            4.67
      Deposit       12/09/2019              Cash ...    Report Date on 12-03-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/09/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           45.82
      Deposit       12/09/2019              Cash ...    Report Date on 12-04-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/09/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue            3.00
      Deposit       12/09/2019              Cash ...    Report Date on 12-05-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/09/2019                          Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           18.93

                                                                                                                                                                          Page 1
1:45 PM                       No. 1:17-bk-00021           Doc La
                                                              763Quinta Inns
                                                                    Filed    & Suites Entered
                                                                          02/04/20    - Elkview, WV
                                                                                               02/04/20 10:21:23                Page 8 of
01/17/20                                                            Deposit Detail Report
                                                                               90
Cash Basis                                                                    December 2019

             Type      Date       Num    Name                  Memo                           Account            Class   Clr                  Split               Debit

      Deposit       12/09/2019          Cash ...    Report Date on 12-06-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/10/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 2,780.24
      Deposit       12/10/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/10/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 4,457.55
      Deposit       12/10/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/10/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 5,752.92
      Deposit       12/10/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/11/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 1,131.79
      Deposit       12/11/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/12/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 2,126.70
      Deposit       12/12/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/13/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 1,336.58
      Deposit       12/13/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/13/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   761.26
      Deposit       12/13/2019          Ameri...    Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/16/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   166.34
      Deposit       12/16/2019          Ameri...    Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/16/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   105.28
      Deposit       12/16/2019          Ameri...    Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/16/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   694.49
      Deposit       12/16/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/17/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   957.63
      Deposit       12/17/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/17/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   205.30
      Deposit       12/17/2019          Ameri...    Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/17/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 6,801.42
      Deposit       12/17/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/17/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 2,682.38
      Deposit       12/17/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/18/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   510.53
      Deposit       12/18/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/18/2019                      Deposit                   10525 · DDA UB OP 9483                     X     -SPLIT-                                135.43
      Deposit       12/18/2019          Cash ...    Report Date on 12-07-19   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/18/2019          Cash ...    Report Date on 12-07-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/18/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           17.50
      Deposit       12/18/2019          Cash ...    Report Date on 12-08-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/18/2019                      Deposit                   10525 · DDA UB OP 9483                     X     -SPLIT-                                112.50
      Deposit       12/18/2019          Cash ...    Report Date on 12-09-19   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/18/2019          Cash ...    Report Date on 12-09-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/18/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           18.50
      Deposit       12/18/2019          Cash ...    Report Date on 12-10-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/18/2019                      Deposit                   10525 · DDA UB OP 9483                     X     -SPLIT-                                117.37
      Deposit       12/18/2019          Cash ...    Report Date on 12-11-19   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/18/2019          Cash ...    Report Date on 12-11-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/18/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           12.84
      Deposit       12/18/2019          Cash ...    Report Date on 12-12-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/18/2019                      Deposit                   10525 · DDA UB OP 9483                     X     -SPLIT-                                176.23
      Deposit       12/18/2019          Cash ...    Report Date on 12-14-19   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/18/2019          Cash ...    Report Date on 12-14-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/18/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue            3.55
      Deposit       12/18/2019          Cash ...    Report Date on 12-15-19   41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/19/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   922.64
      Deposit       12/19/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/20/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 3,376.27
      Deposit       12/20/2019          La Qui...   Deposit                   41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/20/2019                      Deposit                   10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   216.16

                                                                                                                                                                      Page 2
1:45 PM                       No. 1:17-bk-00021            Doc La
                                                               763Quinta Inns
                                                                     Filed    & Suites Entered
                                                                           02/04/20    - Elkview, WV
                                                                                                02/04/20 10:21:23                    Page 9 of
01/17/20                                                             Deposit Detail Report
                                                                                90
Cash Basis                                                                         December 2019

             Type      Date       Num    Name                   Memo                               Account            Class   Clr                  Split               Debit

      Deposit       12/20/2019          Ameri...     Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/20/2019                       Deposit                       10525 · DDA UB OP 9483                     X     -SPLIT-                                105.14
      Deposit       12/20/2019          Cash ...     Report Date on 12-19-19       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/20/2019          Cash ...     Report Date on 12-19-19       41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/20/2019                       Deposit                       10525 · DDA UB OP 9483                     X     -SPLIT-                                254.41
      Deposit       12/20/2019          Cash ...     Report Date on 12-18-19       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/20/2019          Cash ...     Report Date on 12-18-19       41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/20/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue            9.80
      Deposit       12/20/2019          Cash ...     Report Date on 12-17-19       41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/20/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue            8.60
      Deposit       12/20/2019          Cash ...     Report Date on 12-16-19       41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/23/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 1,695.03
      Deposit       12/23/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/23/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   251.66
      Deposit       12/23/2019          Ameri...     Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/23/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   110.88
      Deposit       12/23/2019          Ameri...     Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/24/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 7,312.15
      Deposit       12/24/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/24/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 2,193.70
      Deposit       12/24/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/24/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 1,933.99
      Deposit       12/24/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/24/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   114.88
      Deposit       12/24/2019          Ameri...     Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/24/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           11.30
      Deposit       12/24/2019          Cash ...     Report Date on 12-20-19       41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/24/2019                       Deposit                       10525 · DDA UB OP 9483                     X     -SPLIT-                                109.13
      Deposit       12/24/2019          Cash ...     Report Date on 12-21-19       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/24/2019          Cash ...     Report Date on 12-21-19       41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/24/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           12.28
      Deposit       12/24/2019          Cash ...     Report Date on 12-22-19       41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/24/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41004 · Gift Shop/Pantry Revenue           13.00
      Deposit       12/24/2019          Cash ...     Report Date on 12-23-19       41004 · Gift Shop/Pantry Revenue                 10525 · DDA UB OP 9483
      Deposit       12/24/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41006 · Vending Commissions                75.68
      Deposit       12/24/2019          A! Jani...   Class Action Lawsuit Refund   41006 · Vending Commissions                      10525 · DDA UB OP 9483
      Deposit       12/26/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 1,748.52
      Deposit       12/26/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/26/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 1,451.90
      Deposit       12/26/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/26/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   513.34
      Deposit       12/26/2019          Ameri...     Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/26/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                       94.76
      Deposit       12/26/2019          Ameri...     Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/27/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                   865.19
      Deposit       12/27/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/27/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                       99.80
      Deposit       12/27/2019          Ameri...     Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/30/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 1,049.08
      Deposit       12/30/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/31/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 3,649.70
      Deposit       12/31/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/31/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 2,551.98
      Deposit       12/31/2019          La Qui...    Deposit                       41000 · Room Revenue                             10525 · DDA UB OP 9483
      Deposit       12/31/2019                       Deposit                       10525 · DDA UB OP 9483                     X     41000 · Room Revenue                 2,958.99


                                                                                                                                                                           Page 3
1:45 PM                       No. 1:17-bk-00021              La Quinta
                                                         Doc 763  FiledInns & SuitesEntered
                                                                         02/04/20    - Elkview, WV
                                                                                             02/04/20 10:21:23     Page 10 of
01/17/20                                                           Deposit Detail Report
                                                                              90
Cash Basis                                                               December 2019

             Type      Date       Num    Name                 Memo                    Account        Class   Clr                Split       Debit

      Deposit       12/31/2019          La Qui...   Deposit             41000 · Room Revenue                       10525 · DDA UB OP 9483

Dec 19                                                                                                                                       97,865.21




                                                                                                                                                Page 4
9:35 AM                                        La Quinta Inn & Suites - Summersville, WV
01/21/20
Cash Basis                                             Deposit Detail Report
                        No. 1:17-bk-00021   Doc 763          November 2019
                                                      Filed 02/04/20    Entered 02/04/20 10:21:23    Page 11 of
              Type     Date       Num         Name           Memo
                                                                  90       Account      Class Clr             Split          Debit

Dec 19
             VOID    12/31/2019                             VOID                                    10525 · DDA UB OP 6222    10.39
Dec 19                                                                                                                        10.39




                                                                                                                                      Page 1 of 1
12:15 PM                      No. 1:17-bk-00021        Doc 763          Filed Kanawha
                                                                              02/04/20 City
                                                                                        Entered 02/04/20 10:21:23                   Page 12 of
                                                                                   90
                                                                        Deposit Detail Report
01/18/20
Cash Basis                                                                      December 2019

                       Type        Date      Num                 Name               Memo                 Account          Class   Clr        Split         Debit
       Dec 19
             Deposit           12/05/2019                                       Deposit            DDA FBOC KAN 11...             X     -SPLIT-             13,606.22
             Deposit           12/05/2019   5581       Fujiyama Restaurant      December 20...     Rental Income                        DDA FBOC K...
             Deposit           12/05/2019   5581       Fujiyama Restaurant      December 20...     CAM Income                           DDA FBOC K...
             Deposit           12/05/2019   5581       Fujiyama Restaurant      December 20...     Insurance Income                     DDA FBOC K...
             Deposit           12/05/2019   5581       Fujiyama Restaurant      December 20...     Property Tax Income                  DDA FBOC K...
             Deposit           12/13/2019                                       Deposit            DDA FBOC KAN 11...             X     Tenant Reimbu...       700.00
             Deposit           12/13/2019   14178      LaCarretta Mexican ...   December 20...     Tenant Reimbursem...                 DDA FBOC K...
             Deposit           12/16/2019                                       Deposit            DDA FBOC KAN 11...             X     Tenant Reimbu...     1,000.00
             Deposit           12/16/2019   14191      LaCarretta Mexican ...   December 2019      Tenant Reimbursem...                 DDA FBOC K...
             Deposit           12/26/2019                                       Deposit            DDA FBOC KAN 11...             X     -SPLIT-              8,094.90
             Deposit           12/26/2019   14205      LaCarretta Mexican ...   January 2020 ...   Rental Income                        DDA FBOC K...
             Deposit           12/26/2019   14205      LaCarretta Mexican ...   January 2020 ...   CAM Income                           DDA FBOC K...
             Deposit           12/26/2019   14205      LaCarretta Mexican ...   January 2020 ...   Insurance Income                     DDA FBOC K...
             Deposit           12/26/2019   14205      LaCarretta Mexican ...   January 2020 ...   Property Tax Income                  DDA FBOC K...
             Deposit           12/27/2019                                       Deposit            DDA FBOC KAN 11...             X     -SPLIT-              6,945.81
             Deposit           12/27/2019   65042...   Verizon                  January 2020 ...   Rental Income                        DDA FBOC K...
             Deposit           12/27/2019   65042...   Verizon                  January 2020 ...   CAM Income                           DDA FBOC K...
             Deposit           12/27/2019   65042...   Verizon                  January 2020 ...   Insurance Income                     DDA FBOC K...
             Deposit           12/27/2019   65042...   Verizon                  January 2020 ...   Property Tax Income                  DDA FBOC K...
             Deposit           12/27/2019   65042...   Verizon                  Insurance and...   Tenant Reimbursem...                 DDA FBOC K...

       Dec 19                                                                                                                                               30,346.93




                                                                                                                                                                        Page 1
1:46 PM                       No. 1:17-bk-00021             La Quinta
                                                        Doc 763  FiledInns & SuitesEntered
                                                                        02/04/20    - Elkview, WV
                                                                                            02/04/20 10:21:23                        Page 13 of
01/17/20                                                      Disbursement Detail Report
                                                                             90
Cash Basis                                                                 As of December 31, 2019

             Type          Date       Num                Name                            Memo                 Class   Clr                    Split                   Credit
   10525 · DDA UB OP 9483
      Check             12/02/2019   DEB    Merchant Services                  Credit Card Processing Fee             X     76703 · Merchant Services                     37.85
      Deposit           12/02/2019                                             Deposit                                X     41000 · Room Revenue
      Deposit           12/02/2019                                             Deposit                                X     41000 · Room Revenue
      Bill Pmt -Check   12/02/2019   2154   Allbridge                          SIN379782                              X     20300 · Accounts Payable-Post Petition     2,382.78
      Bill Pmt -Check   12/02/2019   2155   West Virginia American Water       1028-220020799665, Servi...            X     20300 · Accounts Payable-Post Petition     1,107.30
      Bill Pmt -Check   12/02/2019   2156   West Virginia American Water       1028-220028176181, Servi...            X     20300 · Accounts Payable-Post Petition       982.66
      Bill Pmt -Check   12/02/2019   2157   Cintas Corporation                                                        X     20300 · Accounts Payable-Post Petition       188.57
      Bill Pmt -Check   12/02/2019   2158   HD Supply Facilities Maintenance   6107537                                X     20300 · Accounts Payable-Post Petition       600.51
      Bill Pmt -Check   12/02/2019   2159   Mountain Metro Management, L...    Management Fee Decembe...              X     20300 · Accounts Payable-Post Petition     1,750.00
      Deposit           12/02/2019                                             Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/02/2019                                             Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/02/2019                                             Deposit                                X     -SPLIT-
      Deposit           12/02/2019                                             Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/02/2019                                             Deposit                                X     -SPLIT-
      Deposit           12/02/2019                                             Deposit                                X     -SPLIT-
      Deposit           12/02/2019                                             Deposit                                X     -SPLIT-
      Check             12/02/2019   2143   Gordon Food Service                Cost of Food                           X     73250 · Cost of Food                       1,247.16
      Check             12/02/2019   2145   Fergusons                          Plumbing Supplies                      X     78111 · Plumbing                             219.84
      Bill Pmt -Check   12/03/2019   EFT    CNA Insurance                      3034712254                             X     20300 · Accounts Payable-Post Petition     4,523.50
      Deposit           12/03/2019                                             Deposit                                X     41000 · Room Revenue
      Deposit           12/03/2019                                             Deposit                                X     41000 · Room Revenue
      Deposit           12/03/2019                                             Deposit                                X     41000 · Room Revenue
      Deposit           12/03/2019                                             Deposit                                X     41000 · Room Revenue
      Check             12/03/2019   DEB    Paymentech Fee                     Credit Card Processing Fee             X     76700 · Credit Card Processing Fees        1,621.31
      Check             12/03/2019   DEB    American Express                   Credit Card Processing Fee             X     76701 · American Express                       7.95
      Bill Pmt -Check   12/03/2019   2160   Mullen Plumbing, Heating & Co...   160429                                 X     20300 · Accounts Payable-Post Petition     1,685.40
      Check             12/03/2019   2147   Jerry Melton                       Landscaping November 2019              X     78113 · Landscaping-Grounds-Roads            550.00
      Deposit           12/04/2019                                             Deposit                                X     41000 · Room Revenue
      Deposit           12/04/2019                                             Deposit                                X     80450 · Property Insurance
      Deposit           12/05/2019                                             Deposit                                X     41000 · Room Revenue
      Deposit           12/05/2019                                             Deposit                                X     41000 · Room Revenue
      Check             12/05/2019   DEB    American Express                   Credit Card Processing Fee             X     76701 · American Express                      58.99
      Check             12/05/2019   2148   Sam's Club                         Cost of Food                           X     73250 · Cost of Food                       1,362.21
      Check             12/06/2019   EFT    Paychex                            Payroll Processing Fee                 X     69762 · Payroll Fees - Paychex               287.53
      Check             12/06/2019   EFT    Paychex Payroll Taxes              Payroll Taxes                          X     66255 · Payroll Taxes                      3,713.20
      Check             12/06/2019   6017   Ashely Anderson                    Wages from 11-17-19 to 11...           X     66115 · Salaries - Housekeeping              501.32
      Check             12/06/2019   6018   Aderra Derrix                      Wages from 11-17-19 to 11...           X     66115 · Salaries - Housekeeping              432.87
      Check             12/06/2019   6019   Tessa Hayes                        Wages from 11-17-19 to 11...           X     66115 · Salaries - Housekeeping              586.28
      Check             12/06/2019   6020   Dorothea Smith                     Wages from 11-17-19 to 11...           X     66115 · Salaries - Housekeeping              494.89
      Check             12/06/2019   6021   Kathleen Thompson                  Wages from 11-17-19 to 11...           X     66115 · Salaries - Housekeeping              288.15
      Check             12/06/2019   6022   Alisha Walker                      Wages from 11-17-19 to 11...           X     66115 · Salaries - Housekeeping              512.30
      Check             12/06/2019   6023   Cornelia Briscoe                   Wages from 11-17-19 to 11...           X     66120 · Salaries - Front Office              485.10
      Check             12/06/2019   6024   Jessica Evans                      Wages from 11-17-19 to 11...           X     66120 · Salaries - Front Office              533.71
      Check             12/06/2019   6025   Kristen McKown                     Wages from 11-17-19 to 11...           X     66120 · Salaries - Front Office              446.27
      Check             12/06/2019   6026   Bethany Roush                      Wages from 11-17-19 to 11...           X     66120 · Salaries - Front Office              610.42
      Check             12/06/2019   6027   Jerry Melton                       Wages from 11-17-19 to 11...           X     66235 · Salaries - Maintenance               794.27
      Check             12/06/2019   6028   Charles Revels                     Wages from 11-17-19 to 11...           X     66235 · Salaries - Maintenance               661.10

                                                                                                                                                                         Page 1
1:46 PM                       No. 1:17-bk-00021             La Quinta
                                                        Doc 763  FiledInns & SuitesEntered
                                                                        02/04/20    - Elkview, WV
                                                                                            02/04/20 10:21:23                          Page 14 of
01/17/20                                                      Disbursement Detail Report
                                                                             90
Cash Basis                                                                   As of December 31, 2019

             Type          Date       Num                 Name                             Memo                 Class   Clr                    Split                   Credit
      Check             12/06/2019   6029   Kenneth Morrison                     Wages from 11-17-19 to 11...           X     66120 · Salaries - Front Office              624.93
      Check             12/06/2019   6030   Christy Nicholson                    Wages from 11-17-19 to 11...           X     66120 · Salaries - Front Office              527.50
      Check             12/06/2019   6031   Stacy Thompson                       Wages from 11-17-19 to 11...           X     66120 · Salaries - Front Office              596.52
      Check             12/06/2019   6032   Brooke Armentrout                    Wages from 11-17-19 to 11...           X     66100 · Salaries - General Management      1,051.41
      Check             12/06/2019   6033   Helen Shaffer                        Wages from 11-17-19 to 11...           X     66110 · Salaries - F&B                       531.80
      Check             12/06/2019   6034   Terri O'Brien                        Wages from 11-17-19 to 11...           X     66115 · Salaries - Housekeeping              558.33
      Check             12/06/2019   6035   Garrett Abruzzino                    Wages from 11-17-19 to 11...           X     66100 · Salaries - General Management      1,505.29
      Deposit           12/06/2019                                               Deposit                                X     41000 · Room Revenue
      Deposit           12/06/2019                                               Deposit                                X     41000 · Room Revenue
      Bill Pmt -Check   12/06/2019   EFT    Appalachian Power                    Account #020-170-601-1-8               X     20300 · Accounts Payable-Post Petition     3,431.15
      Bill Pmt -Check   12/06/2019   2170   AT&T OneNet Service                  127-1075962                            X     20300 · Accounts Payable-Post Petition        17.14
      Bill Pmt -Check   12/06/2019   2161   Booking.com                          1547694900                             X     20300 · Accounts Payable-Post Petition        91.71
      Bill Pmt -Check   12/06/2019   2162   Cillara Trading Limited              201911-377326                          *     20300 · Accounts Payable-Post Petition        40.60
      Bill Pmt -Check   12/06/2019   2163   Ecolab Food Safety Specialties       2708560                                X     20300 · Accounts Payable-Post Petition       204.12
      Bill Pmt -Check   12/06/2019   2164   Golden Malted                        I332376QNK8H                           X     20300 · Accounts Payable-Post Petition       289.50
      Bill Pmt -Check   12/06/2019   2165   Waste Management 1788-7              6601750-1788-9                         X     20300 · Accounts Payable-Post Petition       363.15
      Bill Pmt -Check   12/06/2019   2166   Royal Cup Coffee                     1123435                                X     20300 · Accounts Payable-Post Petition        88.40
      Bill Pmt -Check   12/06/2019   2167   Frontier 0506144                     304-141-0022-050614-4                  X     20300 · Accounts Payable-Post Petition       835.22
      Bill Pmt -Check   12/06/2019   2168   Super Laundry                        3054363                                X     20300 · Accounts Payable-Post Petition       226.52
      Bill Pmt -Check   12/06/2019   2169   Progressive Electric, Inc.           8336                                   X     20300 · Accounts Payable-Post Petition       750.00
      Bill Pmt -Check   12/06/2019   2180   Allbridge                                                                   X     20300 · Accounts Payable-Post Petition       362.72
      Bill Pmt -Check   12/06/2019   2181   Frontier 0513144                     304-197-0266-051314-4                  X     20300 · Accounts Payable-Post Petition     1,236.00
      Deposit           12/09/2019                                               Deposit                                X     41000 · Room Revenue
      Deposit           12/09/2019                                               Deposit                                X     41000 · Room Revenue
      Deposit           12/09/2019                                               Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/09/2019                                               Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/09/2019                                               Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/09/2019                                               Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/09/2019                                               Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Check             12/09/2019   2171   Brooke Armentrout                    Petty Cash                             X     121 · Petty Cash                             258.57
      Deposit           12/10/2019                                               Deposit                                X     41000 · Room Revenue
      Deposit           12/10/2019                                               Deposit                                X     41000 · Room Revenue
      Deposit           12/10/2019                                               Deposit                                X     41000 · Room Revenue
      Bill Pmt -Check   12/10/2019   2182   Johnson Controls Fire Protectio...   21301397                               X     20300 · Accounts Payable-Post Petition       953.48
      Bill Pmt -Check   12/10/2019   2183   Cintas Corporation                                                          X     20300 · Accounts Payable-Post Petition       462.05
      Bill Pmt -Check   12/10/2019   2184   EcoLab 9795                          010319795                              X     20300 · Accounts Payable-Post Petition       700.66
      Bill Pmt -Check   12/10/2019   2185   HD Supply Facilities Maintenance     6107537                                X     20300 · Accounts Payable-Post Petition       514.74
      Deposit           12/11/2019                                               Deposit                                X     41000 · Room Revenue
      Deposit           12/12/2019                                               Deposit                                X     41000 · Room Revenue
      Deposit           12/13/2019                                               Deposit                                X     41000 · Room Revenue
      Deposit           12/13/2019                                               Deposit                                X     41000 · Room Revenue
      Check             12/13/2019   DEB    Paychex                              Payroll Processing Fee                 X     69762 · Payroll Fees - Paychex               148.40
      Bill Pmt -Check   12/13/2019   EFT    West Virginia State Tax Depart...    2302-4044                              X     20300 · Accounts Payable-Post Petition         3.45
      Bill Pmt -Check   12/13/2019   EFT    West Virginia State Tax Depart...    2302-4044                              X     20300 · Accounts Payable-Post Petition     3,545.90
      Bill Pmt -Check   12/13/2019   EFT    West Virginia State Tax Depart...    2302-4044                              X     20300 · Accounts Payable-Post Petition         3.75
      Bill Pmt -Check   12/13/2019   EFT    West Virginia State Tax Depart...    2302-4044                              X     20300 · Accounts Payable-Post Petition     4,246.05
      Bill Pmt -Check   12/13/2019   2186   Kanawha County Sheriff Occup...      VOID: Occupancy Tax Oct...             X     20300 · Accounts Payable-Post Petition
      Bill Pmt -Check   12/13/2019   2187   Kanawha County Sheriff Occup...      Occupancy Tax October 20...            X     20300 · Accounts Payable-Post Petition     3,545.90

                                                                                                                                                                           Page 2
1:46 PM                       No. 1:17-bk-00021            La Quinta
                                                       Doc 763  FiledInns & SuitesEntered
                                                                       02/04/20    - Elkview, WV
                                                                                           02/04/20 10:21:23                        Page 15 of
01/17/20                                                     Disbursement Detail Report
                                                                            90
Cash Basis                                                                As of December 31, 2019

             Type          Date       Num                Name                           Memo                 Class   Clr                    Split                   Credit
      Bill Pmt -Check   12/13/2019   2188   Kanawha County Sheriff Occup...   Occupancy Tax November ...             X     20300 · Accounts Payable-Post Petition     4,246.05
      Bill Pmt -Check   12/13/2019   2189   Woomer, Nistendirk & Associates   Income Tax Retainer Nove...            X     20300 · Accounts Payable-Post Petition     1,000.00
      Bill Pmt -Check   12/13/2019   2190   Woomer, Nistendirk & Associates   Accounting Retainer Nove...            X     20300 · Accounts Payable-Post Petition     1,000.00
      Bill Pmt -Check   12/13/2019   2191   Woomer, Nistendirk & Associates   Income Tax Retainer Dece...            X     20300 · Accounts Payable-Post Petition     1,000.00
      Bill Pmt -Check   12/13/2019   2192   Woomer, Nistendirk & Associates   Accounting Retainer Dece...            X     20300 · Accounts Payable-Post Petition     1,000.00
      Bill Pmt -Check   12/13/2019   2193   U.S. Trustee                      241-17-00021 3rd Quarter ...           *     20300 · Accounts Payable-Post Petition     6,296.00
      Deposit           12/16/2019                                            Deposit                                X     41000 · Room Revenue
      Deposit           12/16/2019                                            Deposit                                X     41000 · Room Revenue
      Deposit           12/16/2019                                            Deposit                                X     41000 · Room Revenue
      Deposit           12/17/2019                                            Deposit                                X     41000 · Room Revenue
      Deposit           12/17/2019                                            Deposit                                X     41000 · Room Revenue
      Deposit           12/17/2019                                            Deposit                                X     41000 · Room Revenue
      Deposit           12/17/2019                                            Deposit                                X     41000 · Room Revenue
      Deposit           12/18/2019                                            Deposit                                X     41000 · Room Revenue
      Deposit           12/18/2019                                            Deposit                                X     -SPLIT-
      Deposit           12/18/2019                                            Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/18/2019                                            Deposit                                X     -SPLIT-
      Deposit           12/18/2019                                            Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/18/2019                                            Deposit                                X     -SPLIT-
      Deposit           12/18/2019                                            Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Deposit           12/18/2019                                            Deposit                                X     -SPLIT-
      Deposit           12/18/2019                                            Deposit                                X     41004 · Gift Shop/Pantry Revenue
      Check             12/18/2019   2149   Gordon Food Service               Cost of Food                           X     73250 · Cost of Food                         249.25
      Check             12/18/2019   2172   Sam's Club                        Cost of Food                           X     73250 · Cost of Food                         975.96
      Deposit           12/19/2019                                            Deposit                                X     41000 · Room Revenue
      Bill Pmt -Check   12/19/2019   EFT    IPFS Corporation                  PAP-925216, Payment #4                 X     20300 · Accounts Payable-Post Petition     1,724.96
      Check             12/20/2019   EFT    Paychex Payroll Taxes             Payroll Taxes                          X     66255 · Payroll Taxes                      3,530.70
      Check             12/20/2019   DEB    Paychex                           Payroll Processing Fee                 X     69762 · Payroll Fees - Paychex               287.53
      Check             12/20/2019   6036   Ashely Anderson                   Wages from 12-01-19 to 12...           X     66115 · Salaries - Housekeeping              482.64
      Check             12/20/2019   6037   Aderra Derrix                     Wages from 12-01-19 to 12...           X     66115 · Salaries - Housekeeping              412.63
      Check             12/20/2019   6038   Ashley Gorman                     Wages from 12-01-19 to 12...           X     66115 · Salaries - Housekeeping              204.73
      Check             12/20/2019   6039   Tessa Hayes                       Wages from 12-01-19 to 12...           *     66115 · Salaries - Housekeeping              537.62
      Check             12/20/2019   6040   Dorothea Smith                    Wages from 12-01-19 to 12...           *     66115 · Salaries - Housekeeping              337.86
      Check             12/20/2019   6041   Alisha Walker                     Wages from 12-01-19 to 12...           X     66115 · Salaries - Housekeeping              395.90
      Check             12/20/2019   6042   Cornelia Briscoe                  Wages from 12-01-19 to 12...           X     66120 · Salaries - Front Office              555.03
      Check             12/20/2019   6043   Jessica Evans                     Wages from 12-01-19 to 12...           X     66120 · Salaries - Front Office              485.71
      Check             12/20/2019   6044   Kristen McKown                    Wages from 12-01-19 to 12...           *     66120 · Salaries - Front Office              475.42
      Check             12/20/2019   6045   Bethany Roush                     Wages from 12-01-19 to 12...           X     66120 · Salaries - Front Office              504.34
      Check             12/20/2019   6046   Jerry Melton                      Wages from 12-01-19 to 12...           *     66235 · Salaries - Maintenance               814.42
      Check             12/20/2019   6047   Charles Revels                    Wages from 12-01-19 to 12...           X     66235 · Salaries - Maintenance               626.94
      Check             12/20/2019   6048   Kenneth Morrison                  Wages from 12-01-19 to 12...           *     66120 · Salaries - Front Office              549.55
      Check             12/20/2019   6049   Christy Nicholson                 Wages from 12-01-19 to 12...           X     66120 · Salaries - Front Office              605.31
      Check             12/20/2019   6050   Stacy Thompson                    Wages from 12-01-19 to 12...           X     66120 · Salaries - Front Office              596.60
      Check             12/20/2019   6051   Brooke Armentrout                 Wages from 12-01-19 to 12...           X     66100 · Salaries - General Management      1,051.43
      Check             12/20/2019   6052   Helen Shaffer                     Wages from 12-01-19 to 12...           *     66110 · Salaries - F&B                       485.60
      Check             12/20/2019   6053   Terri O'Brien                     Wages from 12-01-19 to 12...           *     66115 · Salaries - Housekeeping              568.85
      Check             12/20/2019   6054   Garrett Abruzzino                 Wages from 12-01-19 to 12...           X     66100 · Salaries - General Management      1,505.27
      Deposit           12/20/2019                                            Deposit                                X     41000 · Room Revenue

                                                                                                                                                                        Page 3
1:46 PM                           No. 1:17-bk-00021           La Quinta
                                                          Doc 763  FiledInns & SuitesEntered
                                                                          02/04/20    - Elkview, WV
                                                                                              02/04/20 10:21:23                         Page 16 of
01/17/20                                                        Disbursement Detail Report
                                                                               90
Cash Basis                                                                     As of December 31, 2019

             Type           Date        Num                 Name                             Memo                Class   Clr                    Split                   Credit
     Deposit             12/20/2019                                                Deposit                               X     41000 · Room Revenue
     Check               12/20/2019    2173   Brooke Armentrout                    Petty Cash                            X     121 · Petty Cash                             237.56
     Deposit             12/20/2019                                                Deposit                               X     -SPLIT-
     Deposit             12/20/2019                                                Deposit                               X     -SPLIT-
     Deposit             12/20/2019                                                Deposit                               X     41004 · Gift Shop/Pantry Revenue
     Deposit             12/20/2019                                                Deposit                               X     41004 · Gift Shop/Pantry Revenue
     Deposit             12/23/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/23/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/23/2019                                                Deposit                               X     41000 · Room Revenue
     Bill Pmt -Check     12/23/2019    2194   Elk Valley Public Service District   Acct #613-5555-01                     X     20300 · Accounts Payable-Post Petition       608.86
     Bill Pmt -Check     12/23/2019    2195   Kanawha-Charleston Health De...      QUAL202031155, Annual ...             *     20300 · Accounts Payable-Post Petition       100.00
     Bill Pmt -Check     12/23/2019    2196   Velocity                             167061                                X     20300 · Accounts Payable-Post Petition       159.35
     Bill Pmt -Check     12/23/2019    2197   Expedia Inc.                         1940308190                            X     20300 · Accounts Payable-Post Petition       120.48
     Bill Pmt -Check     12/23/2019    2198   West Virginia American Water         1028-220028176181, Servi...           X     20300 · Accounts Payable-Post Petition       117.41
     Bill Pmt -Check     12/23/2019    2199   West Virginia American Water         1028-220020799665, Servi...           X     20300 · Accounts Payable-Post Petition     1,885.46
     Bill Pmt -Check     12/23/2019    2200   Frontier 1114                        304-965-9200-053111-4                 *     20300 · Accounts Payable-Post Petition     1,513.64
     Bill Pmt -Check     12/23/2019    2201   Allbridge                            SIN385396                             X     20300 · Accounts Payable-Post Petition     2,382.78
     Bill Pmt -Check     12/23/2019    EFT    Appalachian Power                    Account #020-170-601-1-8              X     20300 · Accounts Payable-Post Petition     5,283.44
     Deposit             12/24/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/24/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/24/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/24/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/24/2019                                                Deposit                               X     41004 · Gift Shop/Pantry Revenue
     Deposit             12/24/2019                                                Deposit                               X     -SPLIT-
     Deposit             12/24/2019                                                Deposit                               X     41004 · Gift Shop/Pantry Revenue
     Deposit             12/24/2019                                                Deposit                               X     41004 · Gift Shop/Pantry Revenue
     Deposit             12/24/2019                                                Deposit                               X     41006 · Vending Commissions
     Deposit             12/26/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/26/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/26/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/26/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/27/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/27/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/30/2019                                                Deposit                               X     41000 · Room Revenue
     Check               12/30/2019    2174   Kroger                               Cost of Food                          *     73250 · Cost of Food                          97.63
     Deposit             12/31/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/31/2019                                                Deposit                               X     41000 · Room Revenue
     Deposit             12/31/2019                                                Deposit                               X     41000 · Room Revenue
     Bill Pmt -Check     12/31/2019    2202   Mountaineer Gas Company 9374         364552-569374                         *     20300 · Accounts Payable-Post Petition       562.38
     Bill Pmt -Check     12/31/2019    2203   HD Supply Facilities Maintenance     6107537                               *     20300 · Accounts Payable-Post Petition     1,554.60
     Bill Pmt -Check     12/31/2019    2204   Superior Uniform Group               99400069                              *     20300 · Accounts Payable-Post Petition       130.66
     Bill Pmt -Check     12/31/2019    2205   Cintas Corporation                   4037612301                            *     20300 · Accounts Payable-Post Petition       388.62

   Total 10525 · DDA UB OP 9483                                                                                                                                         104,037.57

TOTAL                                                                                                                                                                   104,037.57




                                                                                                                                                                            Page 4
11:18 AM                          No. 1:17-bk-00021       La Quinta
                                                          Doc       Inn &02/04/20
                                                              763 Filed   Suites - Summersville,  WV10:21:23
                                                                                    Entered 02/04/20                                   Page 17 of
                                                                              90
                                                               Disbursement Detail Report
01/18/20
Cash Basis                                                                  As of December 31, 2019

             Type             Date        Num            Name                        Memo                  Class   Clr                      Split                 Credit
   10525 · DDA UB OP 6222
      Bill Pmt -Check     12/02/2019     EFT     CNA Insurance            3034712254                               X     20300 · Accounts payable-Post Petition      4,523.50
      Check               12/03/2019     DEB     Paymentech Fee           Credit Card Processing Fee               X     76700 · Credit Card Processing Fees             0.63
      Check               12/05/2019     BED     Paymentech Fee           Chargeback                               X     76460 · Chargebacks - Bad Debt                300.00
      Check               12/06/2019     DEB     Paymentech Fee           Chargeback                               X     76460 · Chargebacks - Bad Debt                950.88
      Check               12/10/2019     DEB     Paychex Payroll          Payroll Processing Fee                   X     69762 · Payroll Fees - Paychex                110.00
      Bill Pmt -Check     12/13/2019     12898   Woomer, Nistendirk ...   Accounting Retainer Novemb...            X     20300 · Accounts payable-Post Petition      1,000.00
      Bill Pmt -Check     12/13/2019     12899   Woomer, Nistendirk ...   Income Tax Retainer Novemb...            X     20300 · Accounts payable-Post Petition      1,000.00
      Bill Pmt -Check     12/13/2019     12900   Woomer, Nistendirk ...   Accounting Retainer Decemb...            X     20300 · Accounts payable-Post Petition      1,000.00
      Bill Pmt -Check     12/13/2019     12901   Woomer, Nistendirk ...   Income Tax Retainer Decemb...            X     20300 · Accounts payable-Post Petition      1,000.00
      Bill Pmt -Check     12/13/2019     12902   U.S. Trustee             241-17-00021, 3rd Quarter 2...           *     20300 · Accounts payable-Post Petition      6,296.00

   Total 10525 · DDA UB OP 6222                                                                                                                                     16,181.01

TOTAL                                                                                                                                                               16,181.01




                                                                                                                                                                       Page 1
12:15 PM                     No. 1:17-bk-00021      Doc 763      Filed Kanawha
                                                                       02/04/20 City
                                                                                 Entered 02/04/20 10:21:23                       Page 18 of
                                                                            90
                                                              Disbursement Detail Report
01/18/20
Cash Basis                                                            As of December 31, 2019

             Type            Date     Num              Name                             Memo                   Class   Clr                 Split              Credit
   DDA FBOC KAN 1192
     Bill Pmt -Check    12/02/2019   1186   Mountain Metro Managemen...    Management Fee December 2...                X     Accounts payable-Post Petition       850.00
     Bill Pmt -Check    12/02/2019   EFT    Premier Bank                   Note 351018                                 X     Accounts payable-Post Petition     3,392.01
     Bill Pmt -Check    12/03/2019   EFT    Premier Bank                   330005                                      X     Accounts payable-Post Petition    15,936.29
     Deposit            12/05/2019                                         Deposit                                     X     -SPLIT-
     Bill Pmt -Check    12/13/2019   1187   Woomer, Nistendirk & Asso...   Income Tax Retainer Novembe...              X     Accounts payable-Post Petition       500.00
     Bill Pmt -Check    12/13/2019   1188   Woomer, Nistendirk & Asso...   Accounting Retainer November...             X     Accounts payable-Post Petition       500.00
     Bill Pmt -Check    12/13/2019   1189   Woomer, Nistendirk & Asso...   Income Tax Retainer Decembe...              X     Accounts payable-Post Petition       500.00
     Bill Pmt -Check    12/13/2019   1190   Woomer, Nistendirk & Asso...   Accounting Retainer Decembe...              X     Accounts payable-Post Petition       500.00
     Bill Pmt -Check    12/13/2019   1191   U.S. Trustee                   241-17-00021 3rd QRT 2019                   *     Accounts payable-Post Petition       794.00
     Deposit            12/13/2019                                         Deposit                                     X     Tenant Reimbursements
     Bill Pmt -Check    12/16/2019   DEB    Premier Bank                   Principal Payment to repay R/E...           X     Accounts payable-Post Petition      3,350.00
     Deposit            12/16/2019                                         Deposit                                     X     Tenant Reimbursements
     Deposit            12/26/2019                                         Deposit                                     X     -SPLIT-
     Deposit            12/27/2019                                         Deposit                                     X     -SPLIT-
     Bill Pmt -Check    12/30/2019   DEB    Premier Bank                   Note 351018                                 X     Accounts payable-Post Petition      3,392.01

   Total DDA FBOC KAN 1192                                                                                                                                     29,714.31

TOTAL                                                                                                                                                          29,714.31




                                                                                                                                                                   Page 1
9:10 AM    No. 1:17-bk-00021         DocLa763
                                           Quinta  Inns
                                               Filed    & SuitesEntered
                                                     02/04/20    - Elkview, WV 10:21:23
                                                                        02/04/20                            Page 19 of
                                                          90
                                       A/P Aging Summary Post-Petition
01/21/20
                                                    As of December 31, 2019

                                                      Current     1 - 30    31 - 60     61 - 90      > 90        TOTAL
             Bankers Insurance                             0.00     0.00        0.00        0.00       (0.10)       (0.10)
             DC Elevator                                   0.00     0.00    2,565.20        0.00        0.00     2,565.20
             Delta Lighting Products, Inc                546.04     0.00        0.00        0.00        0.00       546.04
             Dodson Pest Control                           0.00     0.00      848.00        0.00        0.00       848.00
             Ecolab Food Safety Specialties              125.62     0.00        0.00        0.00        0.00       125.62
             Expedia Inc.                                  0.00   151.52        0.00        0.00        0.00       151.52
             Golden Malted                                52.00     0.00        0.00        0.00        0.00        52.00
             HD Supply Facilities Maintenance              0.00     0.00        0.00        0.00     (569.36)     (569.36)
             Kanawha County Sheriff Occupancy Tax      4,149.16     0.00        0.00        0.00        0.00     4,149.16
             La Quinta Franchising LLC                20,305.49     0.00   10,499.81   10,349.77   10,800.60    51,955.67
             West Virginia State Tax Department        4,152.58     0.00        0.00        0.00        0.00     4,152.58

           TOTAL                                      29,330.89   151.52   13,913.01   10,349.77   10,231.14    63,976.33




                                                                                                                             Page 1
10:20 AMNo.   1:17-bk-00021          La Quinta
                                     Doc       Inn &02/04/20
                                         763 Filed   Suites - Summersville,  WV10:21:23
                                                               Entered 02/04/20                          Page 20 of
                                                         90
                                       A/P Aging Summary-Post Petition
01/20/20
                                                   As of December 31, 2019

                                                    Current    1 - 30     31 - 60    61 - 90      > 90       TOTAL
             Allbridge                                  0.00       0.00       0.00    2,537.34        0.00    2,537.34
             In The Swim                                0.00       0.00       0.00        0.00     -212.94     -212.94
             Johnson Controls Fire Protection LP        0.00       0.00       0.00    2,505.00        0.00    2,505.00
             La Quinta Franchising, LLC                 0.00       0.00       0.00   28,327.14   38,000.00   66,327.14
             Link Media Outdoor                         0.00       0.00       0.00    1,500.00        0.00    1,500.00
             Onity United Technologies                  0.00       0.00       0.00        0.00   -9,097.39   -9,097.39
             West Virginia Tax Department               0.00       0.00       0.00        0.00       -0.01       -0.01

           TOTAL                                        0.00       0.00       0.00   34,869.48   28,689.66   63,559.14




                                                                                                                         Page 1
10:03 AMNo.   1:17-bk-00021          Doc 763  Filed Kanawha
                                                    02/04/20 City
                                                              Entered 02/04/20 10:21:23                Page 21 of
                                                         90
                                        A/P Aging Summary Post-Petition
01/20/20
                                                   As of December 31, 2019

                                                     Current   1 - 30    31 - 60    61 - 90     > 90       TOTAL
             Appalachian Power 844-1-9                  0.00      0.00       0.00    118.72        0.00      118.72
             Kanawha County Sheriff Property Tax        0.00      0.00       0.00      0.00        0.00        0.00
             Mountain Metro Management, LLC             0.00      0.00       0.00      0.00      850.00      850.00
             Plaza Management, LLC-SC                   0.00      0.00       0.00      0.00   12,000.00   12,000.00
             Royal Property Management                  0.00      0.00       0.00      0.00      447.96      447.96

           TOTAL                                        0.00      0.00       0.00    118.72   13,297.96   13,416.68




                                                                                                                      Page 1
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 22 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 23 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 24 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 25 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 26 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 27 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 28 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 29 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 30 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 31 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 32 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 33 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 34 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 35 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 36 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 37 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 38 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 39 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 40 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 41 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 42 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 43 of
                                         90
10:04 AMNo.   1:17-bk-00021         La Quinta
                                    Doc       Inn &02/04/20
                                        763 Filed   Suites - Summersville,  WV10:21:23
                                                              Entered 02/04/20                     Page 44 of
                                                        90
                                           Reconciliation Summary
01/21/20
                                    10525 · DDA UB OP 6222, Period Ending 12/31/2019

                                                                               Dec 31, 19
                   Beginning Balance                                                        51,831.25
                        Cleared Transactions
                           Checks and Payments - 9 items                  -9,885.01

                        Total Cleared Transactions                              -9,885.01

                   Cleared Balance                                                          41,946.24

                        Uncleared Transactions
                          Checks and Payments - 1 item                    -6,296.00

                        Total Uncleared Transactions                            -6,296.00

                   Register Balance as of 12/31/2019                                        35,650.24

                        New Transactions
                          Checks and Payments - 5 items                   -2,135.77

                        Total New Transactions                                  -2,135.77

                   Ending Balance                                                           33,514.47




                                                                                                                Page 1
10:05 AMNo.    1:17-bk-00021              La Quinta
                                          Doc       Inn &02/04/20
                                              763 Filed   Suites - Summersville,  WV10:21:23
                                                                    Entered 02/04/20                   Page 45 of
                                                              90
                                                   Reconciliation Detail
01/21/20
                                          10525 · DDA UB OP 6222, Period Ending 12/31/2019

                  Type                 Date       Num            Name             Clr   Amount         Balance
           Beginning Balance                                                                              51,831.25
                  Cleared Transactions
                     Checks and Payments - 9 items
           Bill Pmt -Check       12/02/2019      EFT     CNA Insurance            X        -4,523.50       -4,523.50
           Check                 12/03/2019      DEB     Paymentech Fee           X            -0.63       -4,524.13
           Check                 12/05/2019      BED     Paymentech Fee           X          -300.00       -4,824.13
           Check                 12/06/2019      DEB     Paymentech Fee           X          -950.88       -5,775.01
           Check                 12/10/2019      DEB     Paychex Payroll          X          -110.00       -5,885.01
           Bill Pmt -Check       12/13/2019      12899   Woomer, Nistendirk ...   X        -1,000.00       -6,885.01
           Bill Pmt -Check       12/13/2019      12900   Woomer, Nistendirk ...   X        -1,000.00       -7,885.01
           Bill Pmt -Check       12/13/2019      12901   Woomer, Nistendirk ...   X        -1,000.00       -8,885.01
           Bill Pmt -Check       12/13/2019      12898   Woomer, Nistendirk ...   X        -1,000.00       -9,885.01

                    Total Checks and Payments                                              -9,885.01       -9,885.01

                 Total Cleared Transactions                                                -9,885.01       -9,885.01

           Cleared Balance                                                                 -9,885.01      41,946.24

                  Uncleared Transactions
                     Checks and Payments - 1 item
           Bill Pmt -Check       12/13/2019      12902   U.S. Trustee              *       -6,296.00       -6,296.00

                    Total Checks and Payments                                              -6,296.00       -6,296.00

                 Total Uncleared Transactions                                              -6,296.00       -6,296.00

           Register Balance as of 12/31/2019                                              -16,181.01      35,650.24

                  New Transactions
                     Checks and Payments - 5 items
           Check                 01/03/2020      DEB     Paymentech Fee                        -0.77           -0.77
           Bill Pmt -Check       01/09/2020      12904   Woomer, Nistendirk ...            -1,000.00       -1,000.77
           Bill Pmt -Check       01/09/2020      12903   Woomer, Nistendirk ...            -1,000.00       -2,000.77
           Bill Pmt -Check       01/09/2020      EFT     WV Treasury                          -25.00       -2,025.77
           Check                 01/10/2020      DEB     Paychex Payroll                     -110.00       -2,135.77

                    Total Checks and Payments                                              -2,135.77       -2,135.77

                 Total New Transactions                                                    -2,135.77       -2,135.77

           Ending Balance                                                                 -18,316.78      33,514.47




                                                                                                                       Page 1
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 46 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 47 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 48 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 49 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 50 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 51 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 52 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 53 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 54 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 55 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 56 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 57 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 58 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 59 of
                                         90
9:07 AM                             No. 1:17-bk-00021      DocLa763
                                                                 Quinta  Inns
                                                                     Filed    & SuitesEntered
                                                                           02/04/20    - Elkview, WV 10:21:23
                                                                                              02/04/20                                   Page 60 of
                                                                                90
                                                                         Balance Sheet
01/21/20
Accrual Basis                                                              As of December 31, 2019

                                                         Jan 31, 19      Feb 28, 19       Mar 31, 19        Apr 30, 19      May 31, 19       Jun 30, 19        Jul 31, 19
ASSETS
  Current Assets
    Checking/Savings
       10525 · DDA UB OP 9483                              44,683.94        50,681.31        41,207.61        48,156.71        48,476.13        89,559.77        68,143.34

     Total Checking/Savings                                44,683.94        50,681.31        41,207.61        48,156.71        48,476.13        89,559.77        68,143.34

     Other Current Assets
        121 · Petty Cash                                      (865.69)         (382.96)          309.37           787.94         1,622.72        (1,400.77)       (1,400.77)
        12455.1 · Due To Due From - CLA                 (1,813,351.33)   (1,813,351.33)   (1,813,351.33)   (1,813,351.33)   (1,813,351.33)   (1,813,351.33)   (1,813,351.33)
        12455.4 · Due to Due From - FMT                    270,494.93       270,494.93       270,494.93       270,494.93       270,494.93       270,494.93       270,494.93
        12455.6 · Due to Due From - MGT                     (3,000.00)       (3,000.00)       (3,000.00)       (3,000.00)       (3,000.00)       (3,000.00)       (3,000.00)
        12455.7 · Due to Due From - SUM                   (145,817.31)     (145,817.31)     (125,817.31)     (125,817.31)     (125,817.31)     (125,817.31)     (125,817.31)
        12456.3 · Due to Due from - SUM DIP                (59,630.89)      (59,630.89)      (59,630.89)      (59,630.89)      (59,630.89)      (59,630.89)      (59,630.89)
        12456.4 · Due to Due From - KAN                     50,289.21        50,289.21        50,289.21        50,289.21        50,289.21        50,289.21        50,289.21
        15102 · Prepaid Insurance                           24,018.17        20,011.68        20,727.15        16,720.66        17,146.37        13,041.54        29,835.65
        22460 · Accrued Insurance                            2,173.93         2,173.93         2,173.93         2,173.93         2,173.93         2,173.93         2,173.93

     Total Other Current Assets                         (1,675,688.98)   (1,679,212.74)   (1,657,804.94)   (1,661,332.86)   (1,660,072.37)   (1,667,200.69)   (1,650,406.58)

  Total Current Assets                                  (1,631,005.04)   (1,628,531.43)   (1,616,597.33)   (1,613,176.15)   (1,611,596.24)   (1,577,640.92)   (1,582,263.24)

  Fixed Assets
     Franchise Fee EG CIS Elkview                           10,000.00        10,000.00        10,000.00        10,000.00        10,000.00        10,000.00        10,000.00
     17000 · Accum Amort EG CIS Elkview                    (22,003.93)      (22,337.18)      (22,670.43)      (23,003.68)      (23,336.93)      (23,670.18)      (24,003.43)
     17100 · Furniture, Fixtures & Equipment             1,349,973.02     1,349,973.02     1,349,973.02     1,349,973.02     1,349,973.02     1,349,973.02     1,349,973.02
     17110 · Land EG CIS Elkview                           402,500.00       402,500.00       402,500.00       402,500.00       402,500.00       402,500.00       402,500.00
     17125 · Accum Depr EG CIS Elkview                  (3,946,382.00)   (4,007,439.28)   (4,068,496.56)   (4,129,553.84)   (4,190,611.12)   (4,251,668.40)   (4,312,725.68)
     17130 · Building & Improvements                     4,252,178.49     4,252,178.49     4,252,178.49     4,252,178.49     4,260,164.81     4,260,164.81     4,260,164.81
     77900.8 · Franchise Fee Deposits                       32,500.00        32,500.00        32,500.00        32,500.00        32,500.00        32,500.00        32,500.00

  Total Fixed Assets                                    2,078,765.58     2,017,375.05     1,955,984.52     1,894,593.99     1,841,189.78     1,779,799.25     1,718,408.72

  Other Assets
    17800.1 · Loan Fees - CB&T 132510409870                28,241.55        28,241.55        28,241.55        28,241.55        28,241.55        28,241.55        28,241.55
    17800.2 · Loan Fees - CB&T 132510409872                   258.20           258.20           258.20           258.20           258.20           258.20           258.20
    17800.3 · Loan Fees - CB&T 21426                       12,875.13        12,875.13        12,875.13        12,875.13        12,875.13        12,875.13        12,875.13

  Total Other Assets                                       41,374.88        41,374.88        41,374.88        41,374.88        41,374.88        41,374.88        41,374.88

TOTAL ASSETS                                              489,135.42       430,218.50       380,762.07       322,792.72       270,968.42       243,533.21       177,520.36

LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
          Accounts Payable
             20200 · Accounts Payable-Pre-Petition        505,017.48       505,017.48       505,017.48       505,017.48       505,017.48       505,017.48       505,017.48
             20300 · Accounts Payable-Post Petition        52,488.38        51,636.50        64,948.05        54,153.22        60,679.77        48,095.55        43,081.69

           Total Accounts Payable                         557,505.86       556,653.98       569,965.53       559,170.70       565,697.25       553,113.03       548,099.17

                                                                                                                                                                               Page 1
9:07 AM                             No. 1:17-bk-00021      DocLa763
                                                                 Quinta  Inns
                                                                     Filed    & SuitesEntered
                                                                           02/04/20    - Elkview, WV 10:21:23
                                                                                              02/04/20                                   Page 61 of
                                                                                90
                                                                         Balance Sheet
01/21/20
Accrual Basis                                                              As of December 31, 2019

                                                         Jan 31, 19      Feb 28, 19       Mar 31, 19        Apr 30, 19      May 31, 19       Jun 30, 19        Jul 31, 19
           Other Current Liabilities
             Due to Bill Amruzzino                          3,100.00         3,100.00         3,100.00         3,100.00         3,100.00         3,100.00         3,100.00
             20200.1 · Accounts Payable reversal         (138,541.76)     (138,541.76)     (138,541.76)     (138,541.76)     (138,541.76)     (138,541.76)     (138,541.76)
             22270 · Occupancy Tax Payable                      2.77             0.00             2.16             3.36             0.00             0.00             0.00
             22430 · Property Taxes Payable               117,846.33       124,017.36       130,188.39       136,359.42       142,530.45       148,701.48       155,546.45
             22470 · Accrued Expenses                       2,839.30         2,532.30         4,171.00         1,590.00         3,220.00         2,795.00         2,305.48

           Total Other Current Liabilities                (14,753.36)        (8,892.10)       (1,080.21)       2,511.02        10,308.69        16,054.72        22,410.17

     Total Current Liabilities                            542,752.50       547,761.88       568,885.32       561,681.72       576,005.94       569,167.75       570,509.34

     Long Term Liabilities
       30502 · N/P Carter Bank & Trust 21426            5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79

     Total Long Term Liabilities                        5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79

  Total Liabilities                                     5,571,265.29     5,576,274.67     5,597,398.11     5,590,194.51     5,604,518.73     5,597,680.54     5,599,022.13

  Equity
    30600 · Opening Bal Equity                                 343.29           343.29           343.29           343.29           343.29           343.29           343.29
    36000 · Retained Earnings                           (4,985,177.57)   (4,985,177.57)   (4,985,177.57)   (4,985,177.57)   (4,985,177.57)   (4,985,177.57)   (4,985,177.57)
    Net Income                                             (97,295.59)     (161,221.89)     (231,801.76)     (282,567.51)     (348,716.03)     (369,313.05)     (436,667.49)

  Total Equity                                          (5,082,129.87)   (5,146,056.17)   (5,216,636.04)   (5,267,401.79)   (5,333,550.31)   (5,354,147.33)   (5,421,501.77)

TOTAL LIABILITIES & EQUITY                                489,135.42       430,218.50       380,762.07       322,792.72       270,968.42       243,533.21       177,520.36




                                                                                                                                                                               Page 2
9:07 AM                             No. 1:17-bk-00021       DocLa763
                                                                  Quinta  Inns
                                                                      Filed    & SuitesEntered
                                                                            02/04/20    - Elkview, WV 10:21:23
                                                                                               02/04/20                                    Page 62 of
                                                                                 90
                                                                          Balance Sheet
01/21/20
Accrual Basis                                                               As of December 31, 2019

                                                      Aug 31, 19       Sep 30, 19        Oct 31, 19      Nov 30, 19       Dec 31, 19
ASSETS
  Current Assets
    Checking/Savings
       10525 · DDA UB OP 9483                            15,318.55         (3,145.67)       3,595.73        19,349.01        13,176.65

     Total Checking/Savings                              15,318.55         (3,145.67)       3,595.73        19,349.01        13,176.65

     Other Current Assets
        121 · Petty Cash                                  (1,400.77)       (1,400.77)            0.00             0.20             0.00
        12455.1 · Due To Due From - CLA               (1,813,351.33)   (1,813,351.33)   (1,813,351.33)   (1,813,351.33)   (1,813,351.33)
        12455.4 · Due to Due From - FMT                  270,494.93       270,494.93       270,494.93       270,494.93       270,494.93
        12455.6 · Due to Due From - MGT                   (3,000.00)       (3,000.00)       (3,000.00)       (3,000.00)       (3,000.00)
        12455.7 · Due to Due From - SUM                 (125,817.31)     (125,817.31)     (125,817.31)     (125,817.31)     (125,817.31)
        12456.3 · Due to Due from - SUM DIP              (59,630.89)      (59,630.89)      (76,180.89)      (76,180.89)      (76,180.89)
        12456.4 · Due to Due From - KAN                   50,289.21        50,289.21        50,289.21        50,289.21        50,289.21
        15102 · Prepaid Insurance                         27,449.63        23,149.11        18,849.09        18,034.28        18,519.40
        22460 · Accrued Insurance                          2,173.93         2,173.93         2,173.93         2,173.93         2,173.93

     Total Other Current Assets                       (1,652,792.60)   (1,657,093.12)   (1,676,542.37)   (1,677,356.98)   (1,676,872.06)

  Total Current Assets                                (1,637,474.05)   (1,660,238.79)   (1,672,946.64)   (1,658,007.97)   (1,663,695.41)

  Fixed Assets
     Franchise Fee EG CIS Elkview                         10,000.00        10,000.00        10,000.00        10,000.00        10,000.00
     17000 · Accum Amort EG CIS Elkview                  (24,336.68)      (24,669.93)      (25,003.18)      (25,336.43)      (25,669.68)
     17100 · Furniture, Fixtures & Equipment           1,349,973.02     1,349,973.02     1,363,623.02     1,365,308.42     1,365,308.42
     17110 · Land EG CIS Elkview                         402,500.00       402,500.00       402,500.00       402,500.00       402,500.00
     17125 · Accum Depr EG CIS Elkview                (4,373,782.96)   (4,434,840.24)   (4,495,897.52)   (4,556,954.80)   (4,618,012.08)
     17130 · Building & Improvements                   4,260,164.81     4,260,164.81     4,260,164.81     4,260,164.81     4,260,164.81
     77900.8 · Franchise Fee Deposits                     32,500.00        32,500.00        32,500.00        32,500.00        32,500.00

  Total Fixed Assets                                  1,657,018.19     1,595,627.66     1,547,887.13     1,488,182.00     1,426,791.47

  Other Assets
    17800.1 · Loan Fees - CB&T 132510409870              28,241.55        28,241.55        28,241.55        28,241.55        28,241.55
    17800.2 · Loan Fees - CB&T 132510409872                 258.20           258.20           258.20           258.20           258.20
    17800.3 · Loan Fees - CB&T 21426                     12,875.13        12,875.13        12,875.13        12,875.13        12,875.13

  Total Other Assets                                     41,374.88        41,374.88        41,374.88        41,374.88        41,374.88

TOTAL ASSETS                                             60,919.02       (23,236.25)      (83,684.63)     (128,451.09)     (195,529.06)

LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
          Accounts Payable
             20200 · Accounts Payable-Pre-Petition      505,017.48       505,017.48       505,017.48       505,017.48       505,017.48
             20300 · Accounts Payable-Post Petition      41,917.30        28,367.41        37,841.63        72,014.30        63,976.33

           Total Accounts Payable                       546,934.78       533,384.89       542,859.11       577,031.78       568,993.81

                                                                                                                                                        Page 3
9:07 AM                             No. 1:17-bk-00021     DocLa763
                                                                Quinta  Inns
                                                                    Filed    & SuitesEntered
                                                                          02/04/20    - Elkview, WV 10:21:23
                                                                                             02/04/20                                   Page 63 of
                                                                               90
                                                                        Balance Sheet
01/21/20
Accrual Basis                                                            As of December 31, 2019

                                                   Aug 31, 19       Sep 30, 19        Oct 31, 19      Nov 30, 19       Dec 31, 19
           Other Current Liabilities
             Due to Bill Amruzzino                     3,100.00         3,100.00         3,100.00         3,100.00         3,100.00
             20200.1 · Accounts Payable reversal    (138,541.76)     (138,541.76)     (138,541.76)     (138,541.76)     (138,541.76)
             22270 · Occupancy Tax Payable                 0.00             0.00             0.00             0.00             0.00
             22430 · Property Taxes Payable          162,391.42       169,236.39       176,081.36       182,926.33       189,771.30
             22470 · Accrued Expenses                  1,283.00         4,294.86         5,494.09         8,073.52         1,682.03

           Total Other Current Liabilities              28,232.66      38,089.49        46,133.69        55,558.09        56,011.57

     Total Current Liabilities                       575,167.44       571,474.38       588,992.80       632,589.87       625,005.38

     Long Term Liabilities
       30502 · N/P Carter Bank & Trust 21426       5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79

     Total Long Term Liabilities                   5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79     5,028,512.79

  Total Liabilities                                5,603,680.23     5,599,987.17     5,617,505.59     5,661,102.66     5,653,518.17

  Equity
    30600 · Opening Bal Equity                            343.29           343.29           343.29           343.29           343.29
    36000 · Retained Earnings                      (4,985,177.57)   (4,985,177.57)   (4,985,177.57)   (4,985,177.57)   (4,985,177.57)
    Net Income                                       (557,926.93)     (638,389.14)     (716,355.94)     (804,719.47)     (864,212.95)

  Total Equity                                     (5,542,761.21)   (5,623,223.42)   (5,701,190.22)   (5,789,553.75)   (5,849,047.23)

TOTAL LIABILITIES & EQUITY                              60,919.02     (23,236.25)      (83,684.63)     (128,451.09)     (195,529.06)




                                                                                                                                                     Page 4
9:08 AM                             No. 1:17-bk-00021     DocLa763
                                                                Quinta  Inns
                                                                    Filed    & SuitesEntered
                                                                          02/04/20    - Elkview, WV 10:21:23
                                                                                             02/04/20                     Page 64 of
                                                                               90
                                                                         Profit & Loss
01/21/20
Accrual Basis                                                      January through December 2019

                                                              Jan 19      Feb 19       Mar 19       Apr 19       May 19        Jun 19       Jul 19
  Ordinary Income/Expense
       Income
          41000 · Room Revenue                                57,256.98    76,045.37   85,619.28   105,849.15    100,014.02   152,657.08   149,635.44
          41001 · Banquet/Meeting Room Revenue                     0.00         0.00        0.00         0.00          0.00         0.00       168.00
          41004 · Gift Shop/Pantry Revenue                     1,280.91     1,350.03    1,662.81       775.20      1,560.62       921.34       651.74
          41005 · Laundry/Dry Cleaning Revenue                    84.00       133.50      170.00        90.00          0.00         0.00         0.00
          41006 · Vending Commissions                              0.00         0.00        0.00         0.00          0.00         0.00         0.00
          41008 · Technology Revenue                               0.00         0.00        0.00         0.00          0.00         0.00         0.00
          41009 · Smoking/Damage Fees                            299.29         0.00        0.00       325.00          0.00         0.00         0.00
          41010 · Beer & Wine Revenue                             12.00        99.00      115.13        12.00        165.00        96.00        18.00

           Total Income                                       58,933.18    77,627.90   87,567.22   107,051.35    101,739.64   153,674.42   150,473.18

           Cost of Goods Sold
             73250 · Cost of Food                              1,058.05      709.69     5,279.23     5,210.72      6,067.07     8,576.51     8,839.99
             73260 · Cost of Beer                                225.62        0.00         0.00       225.62          0.00         0.00         0.00

           Total COGS                                          1,283.67      709.69     5,279.23     5,436.34      6,067.07     8,576.51     8,839.99

     Gross Profit                                             57,649.51    76,918.21   82,287.99   101,615.01     95,672.57   145,097.91   141,633.19

           Expense
             Void                                                  0.00         0.00        0.00         0.00          0.00         0.00         0.00
             50090 · Overhead Expense                              0.00         0.00        0.00        55.00          0.00         0.00         0.00
             66100 · Salaries - General Management             7,730.10     5,153.39    5,153.40     5,153.39      5,382.60     5,153.40     5,153.40
             66110 · Salaries - F&B                            1,159.50       987.08    1,608.41     1,062.70      1,037.70     1,115.40     1,252.82
             66115 · Salaries - Housekeeping                   4,954.48     4,062.86    7,907.74     8,189.82      8,823.81    10,890.62    11,930.92
             66120 · Salaries - Front Office                   9,142.08     7,887.15    8,578.72     6,995.78      7,787.83     9,798.36    10,023.57
             66235 · Salaries - Maintenance                    4,897.78     2,805.88    3,883.48     2,664.39      3,019.13     3,207.08     3,250.66
             66255 · Payroll Taxes                             8,000.19     6,732.53    9,394.78     7,573.97      8,106.29     9,053.86    10,114.81
             69762 · Payroll Fees - Paychex                    1,198.43       668.15      940.64       733.22        764.07       789.46       839.55

             69827 · Workers' Compensation                       394.33      394.33      394.33       394.33        229.11       364.88       364.88
             71000 · Supplies
                71100 · Guest Room Supplies                    7,287.63    1,811.28    2,020.73     4,420.68      3,346.66     5,677.61     5,246.29
                71101 · Guest Room Supplies - Operating            0.00      637.72        0.00         0.00          0.00       297.46         0.00
               71102 · Printing & Office Supplies                318.05        0.00        0.00         0.00        479.97         0.00         0.00
               71103 · Kitchen Supplies & Utensils             3,431.64    1,952.32        0.00         0.00          0.00         0.00         0.00
               71104 · Cleaning Supplies                       1,483.29    2,439.38    1,062.51     1,701.16      1,835.99     2,488.46     2,369.34
               71105 · Cleaning Supplies - F&B                     0.00       51.54       25.71       180.81         25.11       103.83       304.24
               71000 · Supplies - Other                            0.00        0.00        0.00         0.00          0.00     3,614.85     1,101.68

             Total 71000 · Supplies                           12,520.61     6,892.24    3,108.95     6,302.65      5,687.73    12,182.21     9,021.55

             71220 · Uniforms                                      0.00        0.00        0.00          0.00      2,102.04         0.00         0.00
             71350 · Travel Agency Commission                  1,009.60      961.89      240.94      1,339.59      2,398.42     1,699.46     4,755.32
             71880 · Travel-Meals-Lodging                          0.00        0.00      812.14          0.00        215.00         0.00         0.00
             71975 · Miscellaneous Expense                         0.00        0.00        0.00         (0.70)         0.00         0.00         0.00
             73220 · Licenses and Permits                          0.00        0.00        0.00          0.00        600.00         0.00       550.00
             75000 · Utilities
                                                                                                                                                        Page 1
9:08 AM                              No. 1:17-bk-00021     DocLa763
                                                                 Quinta  Inns
                                                                     Filed    & SuitesEntered
                                                                           02/04/20    - Elkview, WV 10:21:23
                                                                                              02/04/20                   Page 65 of
                                                                                90
                                                                          Profit & Loss
01/21/20
Accrual Basis                                                       January through December 2019

                                                               Jan 19      Feb 19       Mar 19      Apr 19      May 19        Jun 19      Jul 19
                75100 · Electricity                             6,951.12    6,752.88    5,672.90    3,948.74    4,236.53          0.00    8,868.15
                75151 · Gas                                       588.06      504.44      561.74        0.00      717.93        397.02      397.02
                75152 · Water-Sewage                            2,024.03    1,899.77    2,486.81    3,333.68    3,660.90      1,442.31    5,592.24
                75153 · Waste Removal                             347.95      374.95      320.95      347.95      360.55        401.21      350.46
                75154 · Internet Service                            0.00      318.70      159.35      159.35      159.35          0.00      318.70
                75155 · Telephone Service                       3,411.56    3,402.57    3,527.64    3,444.74    3,406.76      3,435.16    3,369.09
                75156 · Cable TV                                2,423.99    2,382.78    2,382.78    2,382.78    2,382.78      2,422.11    2,382.78

           Total 75000 · Utilities                             15,746.71    15,636.09   15,112.17   13,617.24   14,924.80      8,097.81   21,278.44

           76460 · Chargeback                                       0.00         0.00        0.00        0.00     104.84        232.96     1,254.58
           76500 · Service Charges
              76520 · Late Fees                                    0.00         0.00       10.63     264.91         0.00          0.00        0.00
             76523 · Wire fees                                    25.00        25.00       25.00      50.00        25.00         36.00       25.00
             76500 · Service Charges - Other                       0.00         0.00        0.00       0.00         0.00          0.00        3.00

           Total 76500 · Service Charges                           25.00       25.00       35.63      314.91       25.00         36.00       28.00

           76700 · Credit Card Processing Fees
             76701 · American Express                             158.40      140.94    1,868.54    2,652.90    2,303.04        264.69      463.14
             76703 · Merchant Services                             45.00       45.00       45.00        0.00       38.90         49.93       53.42
             76700 · Credit Card Processing Fees - Other        1,509.37    1,024.63        0.00       45.00        0.00      2,349.90    3,669.28

           Total 76700 · Credit Card Processing Fees            1,712.77     1,210.57    1,913.54    2,697.90    2,341.94      2,664.52    4,185.84

           767500 · Management Fee                              1,750.00     2,000.00    2,000.00    2,000.00    2,000.00      2,000.00    1,750.00
           76800 · Professional Fees
             76801 · Accounting                                 2,000.00        0.00    1,000.00    1,000.00    1,000.00      1,000.00    2,250.00

           Total 76800 · Professional Fees                      2,000.00         0.00    1,000.00    1,000.00    1,000.00      1,000.00    2,250.00

           77100 · Sales & Advertising
             77400 · Advertising - Billboard                       0.00         0.00     600.00         0.00        0.00          0.00        0.00

           Total 77100 · Sales & Advertising                        0.00         0.00     600.00         0.00        0.00          0.00        0.00

           774 · Postage and Delivery                               0.00       199.21      249.05      224.78       80.08         51.47      194.00
           77900 · Franchise Fees                               7,333.70    10,594.19   15,415.31   19,606.23   20,354.07     22,113.64   15,237.42

           78000 · Repairs & Maintenance
             78100 · Building Repairs                              0.00        0.00         0.00       0.00         0.00          0.00       0.00
             78103 · Light Bulbs                                   0.00        0.00         0.00       0.00         0.00          0.00       0.00
             78104 · Fire & Safety                               953.48      953.48         0.00       0.00       953.48        675.00       0.00
             78105 · Snow Removal                                  0.00        0.00         0.00       0.00         0.00          0.00       0.00
             78106 · Pest Control                                237.00      820.00       237.00     237.00       714.00        714.00       0.00
             78107 · Electrical & Mechanical                     707.84        0.00         0.00       0.00         0.00          0.00       0.00
             78108 · Elevator                                    731.88      993.75     1,562.50       0.00         0.00          0.00     454.00
             78110 · Maintenance Supplies                        138.38        0.00         0.00       0.00       429.24          0.00       0.00
             78111 · Plumbing                                      0.00        0.00       774.89       0.00         0.00          0.00       0.00
             78113 · Landscaping-Grounds-Roads                   500.00        0.00         0.00       0.00       435.08        300.00     550.00

                                                                                                                                                      Page 2
9:08 AM                           No. 1:17-bk-00021       DocLa763
                                                                Quinta  Inns
                                                                    Filed    & SuitesEntered
                                                                          02/04/20    - Elkview, WV 10:21:23
                                                                                             02/04/20                          Page 66 of
                                                                               90
                                                                         Profit & Loss
01/21/20
Accrual Basis                                                      January through December 2019

                                                               Jan 19       Feb 19        Mar 19         Apr 19       May 19         Jun 19        Jul 19
                78114 · Small Equip Purchase and Repair            0.00          0.00          0.00        173.88          0.00      1,678.29          0.00

             Total 78000 · Repairs & Maintenance                3,268.58      2,767.23      2,574.39       410.88       2,531.80      3,367.29      1,004.00

             78401 · Signage                                        0.00          0.00          0.00        369.96        389.59          0.00        290.42
             78600 · Computer Repair & Installations                0.00          0.00          0.00          0.00          0.00          0.00          0.00
             78953 · Vehicle Expense                                0.00          0.00          0.00          0.00          0.00          0.00          0.00
             80400 · Property Tax - Personal                      884.54        884.54        884.54        884.54        884.54        884.54        898.60
             80405 · Property Tax - Real                        5,286.49      5,286.49      5,286.49      5,286.49      5,286.49      5,286.49      5,946.37
             80450 · Property Insurance                         3,457.14      3,345.62      3,457.14      3,345.62      3,457.14      3,345.62      3,457.14
             80460 · General Liability Insurance                  266.54        266.54        266.54        266.54        266.54        394.33        394.33

             85875 · Depreciation Expense                      61,057.28     61,057.28     61,057.28     61,057.28     61,057.28     61,057.28     61,057.28
             85880 · Amortization Expense                         333.25        333.25        333.25        333.25        333.25        333.25        333.25
             86000 · United States Trustee Fees                   816.00        693.00        659.00        501.00        630.00        575.00        510.48
             87000 · Adequate Protection Payment                    0.00          0.00          0.00          0.00          0.00          0.00     31,660.00

           Total Expense                                      154,945.10    140,844.51    152,867.86    152,380.76    161,821.09    165,694.93    208,987.63

  Net Ordinary Income                                         (97,295.59)   (63,926.30)   (70,579.87)   (50,765.75)   (66,148.52)   (20,597.02)   (67,354.44)

  Other Income/Expense
    Other Income
       Reginia F. Ranson                                            0.00          0.00          0.00          0.00          0.00          0.00          0.00
       802 · Other Income                                           0.00          0.00          0.00          0.00          0.00          0.00          0.00

     Total Other Income                                             0.00          0.00          0.00          0.00          0.00          0.00          0.00

  Net Other Income                                                  0.00          0.00          0.00          0.00          0.00          0.00          0.00

Net Income                                                    (97,295.59)   (63,926.30)   (70,579.87)   (50,765.75)   (66,148.52)   (20,597.02)   (67,354.44)




                                                                                                                                                                Page 3
9:08 AM                             No. 1:17-bk-00021    DocLa763
                                                               Quinta  Inns
                                                                   Filed    & SuitesEntered
                                                                         02/04/20    - Elkview, WV 10:21:23
                                                                                            02/04/20                       Page 67 of
                                                                              90
                                                                        Profit & Loss
01/21/20
Accrual Basis                                                       January through December 2019

                                                           Aug 19        Sep 19      Oct 19      Nov 19        Dec 19            TOTAL
  Ordinary Income/Expense
       Income
          41000 · Room Revenue                              98,749.22    77,958.24   72,640.66   63,065.99     76,018.37          1,115,509.80
          41001 · Banquet/Meeting Room Revenue                   0.00         0.00        0.00        0.00          0.00                168.00
          41004 · Gift Shop/Pantry Revenue                   1,643.43     1,265.31      718.27      754.82        938.58             13,523.06
          41005 · Laundry/Dry Cleaning Revenue                 329.00         0.00        0.00        0.00          0.00                806.50
          41006 · Vending Commissions                            0.00         0.00        0.00        0.00         75.68                 75.68
          41008 · Technology Revenue                             0.00         0.00        0.00      336.00          0.00                336.00
          41009 · Smoking/Damage Fees                            0.00         0.00      500.00        0.00          0.00              1,124.29
          41010 · Beer & Wine Revenue                           45.00        48.00       69.00       75.00         57.00                811.13

           Total Income                                    100,766.65    79,271.55   73,927.93   64,231.81     77,089.63          1,132,354.46

           Cost of Goods Sold
             73250 · Cost of Food                            3,707.06     6,726.72    2,185.06      2,843.82    3,984.21             55,188.13
             73260 · Cost of Beer                              225.62         0.00        0.00          0.00        0.00                676.86

           Total COGS                                        3,932.68     6,726.72    2,185.06      2,843.82    3,984.21             55,864.99

     Gross Profit                                           96,833.97    72,544.83   71,742.87   61,387.99     73,105.42          1,076,489.47

           Expense
             Void                                                0.00         0.00        0.00          0.00        0.00                  0.00
             50090 · Overhead Expense                          449.85         0.00      123.69          0.00        0.00                628.54
             66100 · Salaries - General Management           7,730.09     6,588.68    6,745.79      5,113.40    5,113.40             70,171.04
             66110 · Salaries - F&B                          1,894.20     1,257.13    1,185.51      1,113.07    1,017.40             14,690.92
             66115 · Salaries - Housekeeping                13,488.22     9,711.67    8,020.99      7,489.40    6,314.37            101,784.90
             66120 · Salaries - Front Office                12,910.37     8,632.29    6,602.98      7,781.81    7,596.41            103,737.35
             66235 · Salaries - Maintenance                  4,217.40     4,073.57    3,928.59      2,992.28    2,896.73             41,836.97
             66255 · Payroll Taxes                          12,663.66     9,504.41    8,410.14      7,939.53    7,243.90            104,738.07
             69762 · Payroll Fees - Paychex                  1,157.63       822.13      772.72        748.31      723.46             10,157.77

             69827 · Workers' Compensation                    977.19        364.88      49.88        364.88      364.88                 4,657.90
             71000 · Supplies
               71100 · Guest Room Supplies                  3,140.33      4,518.17   1,573.55    1,276.39      2,100.64          42,419.96
               71101 · Guest Room Supplies - Operating          0.00          0.00       0.00        0.00          0.00             935.18
               71102 · Printing & Office Supplies               0.00          0.00       0.00        0.00          0.00             798.02
               71103 · Kitchen Supplies & Utensils             68.90        258.28       0.00        0.00          0.00           5,711.14
               71104 · Cleaning Supplies                    3,839.53      2,549.80   1,822.23    1,264.79        670.26          23,526.74
               71105 · Cleaning Supplies - F&B                 25.11        411.57     110.30      204.12        125.62           1,567.96
               71000 · Supplies - Other                     1,070.70        613.74    (419.01)     980.66        496.33           7,458.95

             Total 71000 · Supplies                          8,144.57     8,351.56    3,087.07      3,725.96    3,392.85             82,417.95

             71220 · Uniforms                                  651.17         0.00       0.00        130.66        0.00               2,883.87
             71350 · Travel Agency Commission                2,551.68       815.42     757.44        525.88      363.71              17,419.35
             71880 · Travel-Meals-Lodging                        0.00         0.00       0.00          0.00        0.00               1,027.14
             71975 · Miscellaneous Expense                       0.00         0.00       0.00          0.00        0.00                  (0.70)
             73220 · Licenses and Permits                        0.00       180.00       0.00          0.00      100.00               1,430.00
             75000 · Utilities
                                                                                                                                                   Page 4
9:08 AM                              No. 1:17-bk-00021     DocLa763
                                                                 Quinta  Inns
                                                                     Filed    & SuitesEntered
                                                                           02/04/20    - Elkview, WV 10:21:23
                                                                                              02/04/20                       Page 68 of
                                                                                90
                                                                          Profit & Loss
01/21/20
Accrual Basis                                                         January through December 2019

                                                             Aug 19        Sep 19      Oct 19      Nov 19        Dec 19            TOTAL
                75100 · Electricity                           3,988.56          0.00   3,882.85    8,714.59          0.00          53,016.32
                75151 · Gas                                     326.02        239.45     232.29      246.44        562.38           4,772.79
                75152 · Water-Sewage                          3,029.54      2,702.87   1,040.10    2,816.23      2,494.32          32,522.80
                75153 · Waste Removal                           350.46        350.46       0.00      350.46        363.15           3,918.55
                75154 · Internet Service                        159.35          0.00     159.35      159.35        159.35           1,752.85
                75155 · Telephone Service                     3,391.40        829.21   3,434.81    6,387.20          0.00          38,040.14
                75156 · Cable TV                              2,596.90      2,555.23   2,382.78    2,382.78      2,573.05          29,250.74

           Total 75000 · Utilities                           13,842.23      6,677.22   11,132.18   21,057.05      6,152.25            163,274.19

           76460 · Chargeback                                  504.52         521.86     111.96          0.00         0.00                2,730.72
           76500 · Service Charges
              76520 · Late Fees                                  0.00          0.00        0.00          0.00     348.52             624.06
              76523 · Wire fees                                 25.00          0.00        0.00          0.00       0.00             236.00
              76500 · Service Charges - Other                    0.00          0.00        0.00          0.00       0.00               3.00

           Total 76500 · Service Charges                         25.00          0.00        0.00         0.00      348.52                  863.06

           76700 · Credit Card Processing Fees
             76701 · American Express                           540.88        365.27     178.58       89.95         66.94           9,093.27
             76703 · Merchant Services                           46.01         40.75      38.81       36.40         37.85             477.07
             76700 · Credit Card Processing Fees - Other      3,148.44      2,379.61   2,195.98    1,747.09      1,621.31          19,690.61

           Total 76700 · Credit Card Processing Fees          3,735.33      2,785.63    2,413.37      1,873.44    1,726.10             29,260.95

           767500 · Management Fee                            1,750.00      1,750.00    1,750.00      1,750.00    1,750.00             22,250.00
           76800 · Professional Fees
              76801 · Accounting                              2,000.00      2,000.00   2,000.00    2,000.00      1,150.00          17,400.00

           Total 76800 · Professional Fees                    2,000.00      2,000.00    2,000.00      2,000.00    1,150.00             17,400.00

           77100 · Sales & Advertising
             77400 · Advertising - Billboard                     0.00          0.00        0.00          0.00        0.00            600.00

           Total 77100 · Sales & Advertising                      0.00          0.00        0.00         0.00         0.00                 600.00

           774 · Postage and Delivery                             0.00          0.00        0.00        0.00          0.00                998.59
           77900 · Franchise Fees                            13,228.68     10,800.60   10,349.77   10,499.81     20,305.49            175,838.91

           78000 · Repairs & Maintenance
             78100 · Building Repairs                             0.00          0.00   4,321.96        0.00         0.00            4,321.96
             78103 · Light Bulbs                                  0.00        490.49       4.11        0.00         0.00              494.60
             78104 · Fire & Safety                                0.00          0.00       0.00        0.00         0.00            3,535.44
             78105 · Snow Removal                                 0.00          0.00       0.00      530.00         0.00              530.00
             78106 · Pest Control                               237.00        583.00   1,322.00    1,020.47         0.00            6,121.47
             78107 · Electrical & Mechanical                      0.00          0.00     222.67        0.00       750.00            1,680.51
             78108 · Elevator                                 2,119.48        500.00   2,565.20        0.00       953.48            9,880.29
             78110 · Maintenance Supplies                         0.00          0.00       0.00        0.00         0.00              567.62
             78111 · Plumbing                                     0.00          0.00     290.64      212.93       219.84            1,498.30
             78113 · Landscaping-Grounds-Roads                  158.68      1,100.00       0.00      550.00       550.00            4,143.76

                                                                                                                                                     Page 5
9:08 AM                           No. 1:17-bk-00021       DocLa763
                                                                Quinta  Inns
                                                                    Filed    & SuitesEntered
                                                                          02/04/20    - Elkview, WV 10:21:23
                                                                                             02/04/20                             Page 69 of
                                                                               90
                                                                         Profit & Loss
01/21/20
Accrual Basis                                                        January through December 2019

                                                            Aug 19        Sep 19         Oct 19       Nov 19        Dec 19              TOTAL
                78114 · Small Equip Purchase and Repair          0.00        313.50          0.00        226.52          0.00            2,392.19

             Total 78000 · Repairs & Maintenance              2,515.16      2,986.99      8,726.58      2,539.92      2,473.32              35,166.14

             78401 · Signage                                     61.23          0.00          0.00          0.00          0.00               1,111.20
             78600 · Computer Repair & Installations            132.50          0.00          0.00          0.00          0.00                 132.50
             78953 · Vehicle Expense                              0.00          0.00        171.14          0.00          0.00                 171.14
             80400 · Property Tax - Personal                    898.60        898.60        898.60        898.60        898.60              10,698.84
             80405 · Property Tax - Real                      5,946.37      5,946.37      5,946.37      5,946.37      5,946.37              67,397.16
             80450 · Property Insurance                       8,572.40      3,935.14      3,935.14      3,935.14      3,935.14              48,178.38
             80460 · General Liability Insurance                109.31          0.50          0.00          0.00      1,114.80               3,345.97

             85875 · Depreciation Expense                    61,057.28     61,057.28     61,057.28     61,057.28     61,057.28             732,687.36
             85880 · Amortization Expense                       333.25        333.25        333.25        333.25        333.25               3,999.00
             86000 · United States Trustee Fees               1,059.52      3,011.86      1,199.23        579.43      2,754.51              12,989.03
             87000 · Adequate Protection Payment             35,486.00          0.00          0.00          0.00          0.00              67,146.00

           Total Expense                                    218,093.41    153,007.04    149,709.67    150,395.47    145,072.74           1,953,820.21

  Net Ordinary Income                                      (121,259.44)   (80,462.21)   (77,966.80)   (89,007.48)   (71,967.32)           (877,330.74)

  Other Income/Expense
    Other Income
       Reginia F. Ranson                                          0.00          0.00          0.00         0.00           0.00                   0.00
       802 · Other Income                                         0.00          0.00          0.00       643.95      12,473.84              13,117.79

     Total Other Income                                           0.00          0.00          0.00       643.95      12,473.84              13,117.79

  Net Other Income                                                0.00          0.00          0.00       643.95      12,473.84              13,117.79

Net Income                                                 (121,259.44)   (80,462.21)   (77,966.80)   (88,363.53)   (59,493.48)           (864,212.95)




                                                                                                                                                         Page 6
10:08 AM                          No. 1:17-bk-00021      La Quinta
                                                         Doc       Inn &02/04/20
                                                             763 Filed   Suites - Summersville,  WV10:21:23
                                                                                   Entered 02/04/20                                   Page 70 of
                                                                             90
                                                                      Balance Sheet
01/21/20
Accrual Basis                                                            As of December 31, 2019

                                                      Jan 31, 19      Feb 28, 19      Mar 31, 19      Apr 30, 19      May 31, 19       Jun 30, 19     Jul 31, 19
ASSETS
  Current Assets
    Checking/Savings
       10525 · DDA UB OP 6222                            16,783.21       11,288.87       11,469.04       36,797.66       43,777.13       65,121.78      140,786.05

     Total Checking/Savings                              16,783.21       11,288.87       11,469.04       36,797.66       43,777.13       65,121.78      140,786.05

     Other Current Assets
        10540 · Petty Cash                                   526.83        1,038.18        1,723.77        2,491.52            0.00            0.00            0.00
        12455.1 · Due To Due From - CLK               -1,566,468.09   -1,566,468.09   -1,566,468.09   -1,566,468.09   -1,566,468.09   -1,566,468.09   -1,566,468.09
        12455.2 · Due To Due From - ELK                  450,125.76      450,125.76      450,125.76      450,125.76      450,125.76      450,125.76      450,125.76
        12455.3 · Due To Due From - EKV                  196,568.81      196,568.81      176,568.81      176,568.81      176,568.81      176,568.81      176,568.81
        12455.4 · Due To Due From - FMT                  245,742.27      245,742.27      245,742.27      245,742.27      245,742.27      245,742.27      245,742.27
        12455.5 · Due To Due From - KAN                  -13,667.50      -13,667.50      -13,667.50      -13,667.50      -13,667.50      -13,667.50      -13,667.50
        12455.6 · Due To Due From - MGT                  -94,637.92      -94,637.92      -94,637.92      -94,637.92      -94,637.92      -94,637.92      -94,637.92
       12455.9 · Due To Due From - OAK                  -966,883.50     -966,883.50     -966,883.50     -966,883.50     -966,883.50     -966,883.50     -966,883.50
       12456.1 · Due to Due from - MOR DIP                -1,000.00       -1,000.00       -1,000.00       -1,000.00       -1,000.00       -1,000.00       -1,000.00
       14100 · Food Inventory                                372.01          372.01          372.01          372.01          372.01          372.01          372.01
       15102 · Prepaid Insurance                          19,468.00       15,461.51       16,176.97       12,170.48       12,468.40        8,363.57       25,157.69

     Total Other Current Assets                       -1,729,853.33   -1,733,348.47   -1,751,947.42   -1,755,186.16   -1,757,379.76   -1,761,484.59   -1,744,690.47

  Total Current Assets                                -1,713,070.12   -1,722,059.60   -1,740,478.38   -1,718,388.50   -1,713,602.63   -1,696,362.81   -1,603,904.42

  Fixed Assets
     M&E EG CIS Summersville                             118,354.00      118,354.00      118,354.00      118,354.00      118,354.00      118,354.00      118,354.00
     16005 · Franchise Fees - Deposits                    42,500.00       42,500.00       42,500.00       42,500.00       42,500.00       42,500.00       42,500.00
     17100 · Furniture, Fixtures & Equipment           1,170,492.46    1,170,492.46    1,170,492.46    1,170,492.46    1,170,492.46    1,170,492.46    1,170,492.46
     17110 · Land                                        402,500.00      402,500.00      402,500.00      402,500.00      402,500.00      402,500.00      402,500.00
     17130 · Building & Improvements SUM               4,788,305.35    4,788,305.35    4,788,305.35    4,788,305.35    4,788,305.35    4,788,305.35    4,788,305.35
     17180 · Accum Depreciation - Corp Equi           -5,639,678.79   -5,712,781.77   -5,785,884.75   -5,858,987.73   -5,932,090.71   -6,005,193.69   -6,078,296.67
     17850 · Accum Amortization                          -44,545.43      -44,889.88      -45,234.33      -45,578.78      -45,923.23      -46,267.68      -46,612.13

  Total Fixed Assets                                    837,927.59      764,480.16      691,032.73      617,585.30      544,137.87      470,690.44      397,243.01

  Other Assets
    16000 · Security Deposit                              5,100.00        5,100.00        5,100.00        5,100.00        5,100.00        5,100.00        5,100.00
    17800 · Deferred Financing Costs                     34,920.00       34,920.00       34,920.00       34,920.00       34,920.00       34,920.00       34,920.00
    17800.1 · Loan Fees - CB&T 132510409871              42,865.25       42,865.25       42,865.25       42,865.25       42,865.25       42,865.25       42,865.25
    17800.2 · Loan Fees - CB&T 132510409872                 258.20          258.20          258.20          258.20          258.20          258.20          258.20
    17800.3 · Loan Fees - CB&T 21426                     13,742.87       13,742.87       13,742.87       13,742.87       13,742.87       13,742.87       13,742.87

  Total Other Assets                                     96,886.32       96,886.32       96,886.32       96,886.32       96,886.32       96,886.32       96,886.32

TOTAL ASSETS                                           -778,256.21     -860,693.12     -952,559.33    -1,003,916.88   -1,072,578.44   -1,128,786.05   -1,109,775.09

LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
          Accounts Payable

                                                                                                                                                                      Page 1
10:08 AM                            No. 1:17-bk-00021      La Quinta
                                                           Doc       Inn &02/04/20
                                                               763 Filed   Suites - Summersville,  WV10:21:23
                                                                                     Entered 02/04/20                                   Page 71 of
                                                                               90
                                                                        Balance Sheet
01/21/20
Accrual Basis                                                              As of December 31, 2019

                                                        Jan 31, 19      Feb 28, 19      Mar 31, 19      Apr 30, 19      May 31, 19       Jun 30, 19     Jul 31, 19
              20200 · Accounts Payable-Pre-Petition       360,264.91      360,264.91      360,264.91      360,264.91      360,264.91      360,264.91      360,264.91
              20300 · Accounts payable-Post Petition       93,664.91      119,145.48      113,063.75       89,306.74       71,996.97       59,710.09       59,974.40

           Total Accounts Payable                         453,929.82      479,410.39      473,328.66      449,571.65      432,261.88      419,975.00      420,239.31

           Other Current Liabilities
             22200 · Sales Tax - Payable                        0.00            0.00            0.00           -0.80            0.00            0.00            0.00
             22270 · Occupancy Tax Payable                     -7.04           -7.04           -7.04          -24.86           -7.04           -7.04            0.00
             22430 · Accrued Property Taxes                77,899.37       81,771.76       85,644.15       89,516.54       93,388.93       97,261.32      100,875.71
             22460 · Accrued Insurance                      8,808.30        8,808.30        8,808.30        8,808.30        8,808.30        8,808.30        8,808.30
             22470 · Accrued Expenses                       4,786.46        4,827.30        7,167.19        5,683.51        5,337.29        3,277.93        4,208.64
             22700 · Due to Bill Abruzzino                  3,000.00        3,000.00        3,000.00        3,000.00        3,000.00        3,000.00        3,000.00

           Total Other Current Liabilities                 94,487.09       98,400.32      104,612.60      106,982.69      110,527.48      112,340.51      116,892.65

     Total Current Liabilities                            548,416.91      577,810.71      577,941.26      556,554.34      542,789.36      532,315.51      537,131.96

     Long Term Liabilities
       30502 · N/P CB&T 21426                           5,318,669.89    5,318,669.89    5,318,669.89    5,318,669.89    5,318,669.89     5,318,669.89   5,318,669.89

     Total Long Term Liabilities                        5,318,669.89    5,318,669.89    5,318,669.89    5,318,669.89    5,318,669.89     5,318,669.89   5,318,669.89

  Total Liabilities                                     5,867,086.80    5,896,480.60    5,896,611.15    5,875,224.23    5,861,459.25     5,850,985.40   5,855,801.85

  Equity
    3000 · Opening Bal Equity                                  797.98          797.98          797.98          797.98          797.98          797.98          797.98
    36000 · Retained Earnings                           -6,558,018.45   -6,558,018.45   -6,558,018.45   -6,558,018.45   -6,558,018.45   -6,558,018.45   -6,558,018.45
    Net Income                                             -88,122.54     -199,953.25     -291,950.01     -321,920.64     -376,817.22     -422,550.98     -408,356.47

  Total Equity                                          -6,645,343.01   -6,757,173.72   -6,849,170.48   -6,879,141.11   -6,934,037.69   -6,979,771.45   -6,965,576.94

TOTAL LIABILITIES & EQUITY                               -778,256.21     -860,693.12     -952,559.33    -1,003,916.88   -1,072,578.44   -1,128,786.05   -1,109,775.09




                                                                                                                                                                        Page 2
10:08 AM                          No. 1:17-bk-00021     La Quinta
                                                        Doc       Inn &02/04/20
                                                            763 Filed   Suites - Summersville,  WV10:21:23
                                                                                  Entered 02/04/20                                Page 72 of
                                                                            90
                                                                     Balance Sheet
01/21/20
Accrual Basis                                                           As of December 31, 2019

                                                 Aug 31, 19       Sep 30, 19      Oct 31, 19      Nov 30, 19      Dec 31, 19
ASSETS
  Current Assets
    Checking/Savings
       10525 · DDA UB OP 6222                         96,665.06      99,364.91       54,269.27       51,831.25       35,650.24

     Total Checking/Savings                           96,665.06      99,364.91       54,269.27       51,831.25       35,650.24

     Other Current Assets
        10540 · Petty Cash                                0.00             0.00            0.00            0.00            0.00
        12455.1 · Due To Due From - CLK          -1,566,468.09    -1,566,468.09   -1,566,468.09   -1,566,468.09   -1,566,468.09
        12455.2 · Due To Due From - ELK             450,125.76       450,125.76      466,675.76      466,675.76      466,675.76
        12455.3 · Due To Due From - EKV             176,568.81       176,568.81      176,568.81      176,568.81      176,568.81
        12455.4 · Due To Due From - FMT             245,742.27       245,742.27      245,742.27      245,742.27      245,742.27
        12455.5 · Due To Due From - KAN             -13,667.50       -13,667.50      -13,667.50      -13,667.50      -13,667.50
        12455.6 · Due To Due From - MGT             -94,637.92       -94,637.92      -94,637.92      -94,637.92      -94,637.92
        12455.9 · Due To Due From - OAK            -966,883.50      -966,883.50     -966,883.50     -966,883.50     -966,883.50
       12456.1 · Due to Due from - MOR DIP           -1,000.00        -1,000.00       -1,000.00       -1,000.00       -1,000.00
       14100 · Food Inventory                           372.01           372.01          372.01          372.01          372.01
       15102 · Prepaid Insurance                     27,449.64        23,149.62       19,524.49       23,009.71       27,189.32

     Total Other Current Assets                  -1,742,398.52    -1,746,698.54   -1,733,773.67   -1,730,288.45   -1,726,108.84

  Total Current Assets                           -1,645,733.46    -1,647,333.63   -1,679,504.40   -1,678,457.20   -1,690,458.60

  Fixed Assets
     M&E EG CIS Summersville                        118,354.00       118,354.00      118,354.00      118,354.00      118,354.00
     16005 · Franchise Fees - Deposits               42,500.00        42,500.00       42,500.00       42,500.00       42,500.00
     17100 · Furniture, Fixtures & Equipment      1,170,492.46     1,170,492.46    1,170,492.46    1,170,492.46    1,170,492.46
     17110 · Land                                   402,500.00       402,500.00      402,500.00      402,500.00      402,500.00
     17130 · Building & Improvements SUM          4,788,305.35     4,788,305.35    4,788,305.35    4,788,305.35    4,788,305.35
     17180 · Accum Depreciation - Corp Equi      -6,151,399.65    -6,224,502.63   -6,241,009.75   -6,241,009.75   -6,241,009.75
     17850 · Accum Amortization                     -46,956.58       -47,301.03      -47,378.81      -47,378.81      -47,378.81

  Total Fixed Assets                               323,795.58       250,348.15      233,763.25      233,763.25      233,763.25

  Other Assets
    16000 · Security Deposit                           5,100.00       5,100.00        5,100.00        5,100.00        5,100.00
    17800 · Deferred Financing Costs                  34,920.00      34,920.00       34,920.00       34,920.00       34,920.00
    17800.1 · Loan Fees - CB&T 132510409871           42,865.25      42,865.25       42,865.25       42,865.25       42,865.25
    17800.2 · Loan Fees - CB&T 132510409872              258.20         258.20          258.20          258.20          258.20
    17800.3 · Loan Fees - CB&T 21426                  13,742.87      13,742.87       13,742.87       13,742.87       13,742.87

  Total Other Assets                                  96,886.32      96,886.32       96,886.32       96,886.32       96,886.32

TOTAL ASSETS                                     -1,225,051.56    -1,300,099.16   -1,348,854.83   -1,347,807.63   -1,359,809.03

LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
          Accounts Payable

                                                                                                                                               Page 3
10:08 AM                            No. 1:17-bk-00021        La Quinta
                                                             Doc       Inn &02/04/20
                                                                 763 Filed   Suites - Summersville,  WV10:21:23
                                                                                       Entered 02/04/20                                Page 73 of
                                                                                 90
                                                                          Balance Sheet
01/21/20
Accrual Basis                                                                As of December 31, 2019

                                                       Aug 31, 19      Sep 30, 19      Oct 31, 19      Nov 30, 19      Dec 31, 19
              20200 · Accounts Payable-Pre-Petition      360,264.91      360,264.91      360,264.91      360,264.91      360,264.91
              20300 · Accounts payable-Post Petition      57,655.73       53,238.44       63,539.14       63,559.14       63,559.14

           Total Accounts Payable                        417,920.64      413,503.35      423,804.05      423,824.05      423,824.05

           Other Current Liabilities
             22200 · Sales Tax - Payable                       0.00            0.00            0.00            0.00            0.00
             22270 · Occupancy Tax Payable                     0.00            0.00            0.00            0.00            0.00
             22430 · Accrued Property Taxes              104,490.10      108,104.49      108,920.64      108,920.64      108,920.64
             22460 · Accrued Insurance                     8,808.30        8,808.30        8,808.30        8,808.30        8,808.30
             22470 · Accrued Expenses                      4,225.74        9,799.84       51,485.09       53,543.93       44,238.59
             22700 · Due to Bill Abruzzino                 3,000.00        3,000.00        3,000.00        3,000.00        3,000.00

           Total Other Current Liabilities               120,524.14      129,712.63      172,214.03      174,272.87      164,967.53

     Total Current Liabilities                           538,444.78      543,215.98      596,018.08      598,096.92      588,791.58

     Long Term Liabilities
       30502 · N/P CB&T 21426                          5,318,669.89    5,318,669.89    5,318,669.89    5,318,669.89    5,318,669.89

     Total Long Term Liabilities                       5,318,669.89    5,318,669.89    5,318,669.89    5,318,669.89    5,318,669.89

  Total Liabilities                                    5,857,114.67    5,861,885.87    5,914,687.97    5,916,766.81    5,907,461.47

  Equity
    3000 · Opening Bal Equity                                 797.98          797.98          797.98          797.98          797.98
    36000 · Retained Earnings                          -6,558,018.45   -6,558,018.45   -6,558,018.45   -6,558,018.45   -6,558,018.45
    Net Income                                           -524,945.76     -604,764.56     -706,322.33     -707,353.97     -710,050.03

  Total Equity                                         -7,082,166.23   -7,161,985.03   -7,263,542.80   -7,264,574.44   -7,267,270.50

TOTAL LIABILITIES & EQUITY                             -1,225,051.56   -1,300,099.16   -1,348,854.83   -1,347,807.63   -1,359,809.03




                                                                                                                                                    Page 4
10:09 AM                            No. 1:17-bk-00021   La Quinta
                                                        Doc       Inn &02/04/20
                                                            763 Filed   Suites - Summersville,  WV10:21:23
                                                                                  Entered 02/04/20                        Page 74 of
                                                                            90
                                                                     Profit & Loss
01/21/20
Accrual Basis                                                    January through December 2019

                                                            Jan 19      Feb 19      Mar 19      Apr 19       May 19         Jun 19       Jul 19      Aug 19
  Ordinary Income/Expense
       Income
          41000 · Room Revenue                              70,750.19   60,212.32   91,278.27   171,835.97   141,016.88    154,097.48   255,524.58   211,243.96
          41003 · Restaurant Revenue - Food                      0.00        0.00        0.00         0.00         0.00          0.00         0.00         0.00
          41004 · Gift Shop/Pantry Income                    1,178.35    1,089.56    1,296.64       696.70     1,529.69        752.83     2,946.56     1,657.05
          41006 · Vending Commissions                           59.50        0.00        0.00         0.00         0.00          0.00         0.00         0.00
          41007 · Room Service Revenue                          50.00       25.00        0.00        50.00        25.00          0.00         0.00         0.00
          41008 · Technology Revenue                             0.00        3.45       13.65         6.45         0.00          0.00         0.00         0.00
          41009 · Damage/Smoking Fee                             0.00      466.68        0.00         0.00         0.00          0.00         0.00         0.00
          41010 · Beer & Wine Revenue                          156.33      190.66      291.89       967.55       253.31      1,264.59        90.97       121.88

           Total Income                                     72,194.37   61,987.67   92,880.45   173,556.67   142,824.88    156,114.90   258,562.11   213,022.89

           Cost of Goods Sold
             73250 · Cost of Food                            6,323.00    7,657.66    7,540.59     9,313.11     9,846.41     13,178.58    18,212.29    14,220.12
             73260 · Cost of Beer                              421.70      123.25        0.00       147.35         0.00        528.15         0.00         0.00

           Total COGS                                        6,744.70    7,780.91    7,540.59     9,460.46     9,846.41     13,706.73    18,212.29    14,220.12

     Gross Profit                                           65,449.67   54,206.76   85,339.86   164,096.21   132,978.47    142,408.17   240,349.82   198,802.77

           Expense
             VOID                                                0.00        0.00        0.00         0.00         0.00          0.00         0.00         0.00
             50090 · Overhead Expense                            0.00        0.00        0.00       273.49         0.00          0.00       254.38         0.00
             66000 · Salary Expense                            109.89        0.00        0.00         0.00         0.00          0.00         0.00         0.00
             66100 · Salaries - General Management           2,284.71    2,284.70    3,427.05     2,284.71     2,284.70      2,284.71     2,284.71     3,427.05
             66110 · Salaries - Food & Beverage              1,870.60    1,526.64    2,736.01     2,222.42     2,171.35      2,290.90     2,935.42     4,435.01
             66115 · Salaries - Housekeeping                 7,014.21    5,696.14   14,231.89    11,433.55    10,043.18     12,443.19    14,446.37    23,995.66
             66120 · Salaries - Front Office                 9,100.91    8,459.26   12,534.00     9,580.42    10,352.26      9,244.71     9,243.94    14,505.60
             66235 · Salaries - Maintenance                  4,594.97    5,692.41    8,012.78     6,582.43     6,528.87      6,871.80     7,717.29    10,669.20
             66255 · Payroll Taxes                           7,911.83    7,503.12   13,192.43    10,615.08     9,889.55     10,667.86    11,442.28    18,328.53
             69762 · Payroll Fees - Paychex                  1,379.68      838.66    1,207.84     1,632.70       982.30      1,001.34     1,025.35     1,407.60

             69827 · Workers Compensation                      394.33     394.33      394.33       394.33       229.11        394.33       394.33       918.29
             71000 · Supplies
               71100 · Guest Rooms Supplies                  2,279.32    1,501.28   2,877.39     4,010.50     7,447.11      6,397.47     2,480.97      1,660.71
               71102 · Printing & Office Supplies                0.00        0.00     208.50       188.99       225.89          0.00         0.00          0.00
               71104 · Cleaning Supplies                       456.59    1,171.73   1,047.89     2,620.55     1,935.20      1,168.20     1,695.78      4,396.26
               71150 · Linen Expense                             0.00        0.00       0.00         0.00         0.00          0.00         0.00      3,024.16
               71000 · Supplies - Other                          0.00        0.00       0.00         0.00     3,341.06        786.92     1,430.71      1,584.59

             Total 71000 · Supplies                          2,735.91    2,673.01    4,133.78     6,820.04    12,949.26      8,352.59     5,607.46    10,665.72

             71220 · Uniforms                                    0.00        0.00       0.00          0.00         0.00          0.00       964.13        47.22
             71350 · Travel Agent Commission                     0.00    2,071.56       0.00      1,310.86     2,542.74      1,467.85     3,739.09     5,552.72
             71880 · Travel-Meals-Lodging                      150.00      901.86     718.69          0.00         0.00        500.00         0.00       500.00
             71975 · Miscellaneous                               0.00      480.00       0.00         -0.26         0.00          0.00         0.00         0.00
             73220 · License and Permits - Beverage              0.00        0.00       0.00          0.00         0.00          0.00       550.00         0.00
             73320 · Licenses and Permits                        0.00        0.00       0.00          0.00       860.50          0.00         0.00         0.00
             75000 · Utilities
                                                                                                                                                              Page 1
10:09 AM                             No. 1:17-bk-00021     La Quinta
                                                           Doc       Inn &02/04/20
                                                               763 Filed   Suites - Summersville,  WV10:21:23
                                                                                     Entered 02/04/20                      Page 75 of
                                                                               90
                                                                        Profit & Loss
01/21/20
Accrual Basis                                                       January through December 2019

                                                               Jan 19      Feb 19      Mar 19      Apr 19      May 19        Jun 19      Jul 19      Aug 19
                75100 · Electricity                                 0.00   18,957.62       0.00     9,629.71   3,734.83      4,350.62    5,504.13     4,935.35
                75150 · Gas                                       979.16      885.93     944.47       818.00     726.94        718.43      577.34        18.69
                75152 · Water - Sewage                          1,823.91    1,332.97   1,993.05     1,642.52   2,597.20      1,925.84    2,468.74     3,943.75
                75153 · Waste Removal                             641.37      636.76     636.76       636.76     683.99        636.76      636.76       831.65
                75154 · Internet Service                            0.00      323.70     159.35       159.35     159.35          0.00      318.70       159.35
                75155 · Telephone Service                       4,044.42    2,737.71   2,661.03     2,676.92   2,643.14      2,579.69    2,712.50     2,752.89
                75156 · Cable TV                                5,007.20    2,537.34   2,537.34     2,537.34   2,537.34      2,537.34    2,537.34     2,537.34

           Total 75000 · Utilities                             12,496.06   27,412.03    8,932.00   18,100.60   13,082.79     12,748.68   14,755.51   15,179.02

           76175 · Dues and Subscriptions                           0.00     165.00        0.00         0.00       0.00          0.00         0.00       0.00
           76460 · Chargebacks - Bad Debt                         347.76       0.00      166.88       223.56     209.68        122.08         0.00     462.72
           76500 · Service Charges
             76523 · Wire fees                                     0.00         0.00       0.00       25.00        0.00          0.00        0.00       25.00
             76500 · Service Charges - Other                       0.00         0.00       0.00        0.00        0.00          0.00        3.00        0.00

           Total 76500 · Service Charges                            0.00        0.00        0.00       25.00        0.00          0.00        3.00       25.00

           76700 · Credit Card Processing Fees
             76701 · American Express                             256.10      187.97     163.07       160.50     431.29          0.00        0.00         0.00
             76705 · Merchant                                      59.00       59.00      59.00         0.00      43.67         41.72       44.15        50.29
             76700 · Credit Card Processing Fees - Other        1,839.63    1,424.72   1,529.38     2,707.86   3,965.32      3,586.32    4,563.62     6,206.07

           Total 76700 · Credit Card Processing Fees            2,154.73    1,671.69    1,751.45    2,868.36    4,440.28      3,628.04    4,607.77    6,256.36

           76800.2 · Professional Fees - Accounting             2,000.00        0.00    1,000.00    1,000.00    1,000.00      1,000.00    2,250.00    2,000.00
           76840 · Postage and Delivery                            94.42       74.88        0.00       36.14      118.40         76.66      120.58       97.32
           76880 · Travel - Meals - Lodging                         0.00        0.00        0.00        0.00        0.00          0.00      955.00      500.00
           76950 · Miscellaneous Expense                            0.00        0.00        0.00        0.00        0.00          0.00      194.91        0.00
           77100 · Sales & Advertising
             77103 · Advertising - Billboard                    1,500.00    1,500.00   1,500.00     1,500.00   1,500.00      1,500.00    1,500.00     1,500.00

           Total 77100 · Sales & Advertising                    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00      1,500.00    1,500.00    1,500.00

           77900 · Franchise Fees                              10,238.09   11,368.50   14,941.12   26,494.46   20,713.44     22,857.94   29,915.03   28,670.65

           78000 · Repairs & Maintenance
             78100 · Building Repairs                               0.00       0.00        0.00     1,636.53       0.00          0.00        0.00     2,090.31
             78104 · Fire & Safety                                  0.00       0.00        0.00         0.00       0.00      3,926.24        0.00     1,001.70
             78106 · Pest Control                                   0.00     279.00       42.00        93.00      93.00         93.00        0.00       583.00
             78107 · Electrical & Mechanical                        0.00       0.00    2,716.10     2,336.90       0.00          0.00        0.00         0.00
             78108 · Elevator                                   2,100.00       0.00        0.00         0.00       0.00          0.00        0.00         0.00
             78109 · HVAC                                          53.89       0.00        0.00     1,322.33       0.00          0.00        0.00         0.00
             78110 · Maintenance Supplies                         373.41     284.05        0.00        68.11   2,120.70      1,872.27    1,695.28       550.09
             78111 · Plumbing                                       0.00       0.00        0.00         0.00       0.00          0.00        0.00         0.00
             78112 · Pool & Spa Maintenance                       642.86     555.06    1,564.88       617.78     485.33        539.34      485.33     3,023.65
             78113 · Landscaping-Ground-Roads-Walkwa              125.00     125.00        0.00         0.00       0.00          0.00        0.00         0.00
             78114 · Small Equip. Purchase & Repair                 0.00       0.00        0.00         0.00       0.00          0.00      867.08       284.08
             78000 · Repairs & Maintenance - Other               -195.19     357.75        0.00         0.00     423.79         95.00       99.55         0.00


                                                                                                                                                              Page 2
10:09 AM                          No. 1:17-bk-00021   La Quinta
                                                      Doc       Inn &02/04/20
                                                          763 Filed   Suites - Summersville,  WV10:21:23
                                                                                Entered 02/04/20                            Page 76 of
                                                                          90
                                                                   Profit & Loss
01/21/20
Accrual Basis                                                  January through December 2019

                                                          Jan 19        Feb 19       Mar 19       Apr 19       May 19         Jun 19        Jul 19       Aug 19
             Total 78000 · Repairs & Maintenance            3,099.97     1,600.86      4,322.98     6,074.65     3,122.82      6,525.85      3,147.24     7,532.83

             78401 · Signage                                    0.00         0.00          0.00         0.00         0.00          0.00        265.97         0.00
             78550 · Keys and Locks                             0.00         0.00          0.00         0.00        75.18          0.00          0.00         0.00
             78953 · Vehicle Expense                            0.00         0.00          0.00         0.00       149.99          0.00          0.00         0.00
             80010 · Management Fee                         2,000.00     1,750.00      1,750.00     1,750.00     1,750.00      1,750.00      2,000.00     2,000.00
             80400 · Property Tax - Personal                1,215.77     1,215.77      1,215.77     1,215.77     1,215.77      1,215.77        957.77       957.77
             80405 · Property Tax - Real                    2,656.62     2,656.62      2,656.62     2,656.62     2,656.62      2,656.62      2,656.62     2,656.62
             80450 · Property Insurance                     3,457.14     3,345.62      3,457.14     3,345.62     3,457.14      3,345.62      3,457.14     4,022.22

             80460 · General Liability Insurance              266.54       266.54        266.54       266.54       394.33        364.88        364.88        40.42
             85510.1 · B&O Taxes                              401.64       321.84        484.89       906.32       857.36        739.08      1,349.23     1,164.58
             85875 · Depreciation - Corp Equipment         73,102.98    73,102.98     73,102.98    73,102.98    73,102.98     73,102.98     73,102.98    73,102.98
             85880 · Amortization Expense                     344.45       344.45        344.45       344.45       344.45        344.45        344.45       344.45
             86000 · Unitied States Trustee Fees              649.00       719.00        855.00     1,006.00       850.00        644.00        581.48     1,248.52
             87000 · Adequate Protection Payment                0.00         0.00          0.00         0.00         0.00          0.00     23,021.00    73,178.00

           Total Expense                                  153,572.21   166,037.47    177,336.62   194,066.84   187,875.05    188,141.93    226,155.31   315,392.06

  Net Ordinary Income                                     -88,122.54   -111,830.71   -91,996.76   -29,970.63   -54,896.58     -45,733.76    14,194.51   -116,589.29

Net Income                                                -88,122.54   -111,830.71   -91,996.76   -29,970.63   -54,896.58     -45,733.76    14,194.51   -116,589.29




                                                                                                                                                                  Page 3
10:09 AM                            No. 1:17-bk-00021   La Quinta
                                                        Doc       Inn &02/04/20
                                                            763 Filed   Suites - Summersville,  WV10:21:23
                                                                                  Entered 02/04/20                   Page 77 of
                                                                            90
                                                                     Profit & Loss
01/21/20
Accrual Basis                                                      January through December 2019

                                                          Sep 19        Oct 19      Nov 19       Dec 19      TOTAL
  Ordinary Income/Expense
       Income
          41000 · Room Revenue                            149,090.21    70,174.47         0.00        0.00     1,375,224.33
          41003 · Restaurant Revenue - Food                    21.00         0.00         0.00        0.00            21.00
          41004 · Gift Shop/Pantry Income                   1,470.21     2,036.09         0.00        0.00        14,653.68
          41006 · Vending Commissions                           0.00       603.00         0.00        0.00           662.50
          41007 · Room Service Revenue                          0.00         0.00         0.00        0.00           150.00
          41008 · Technology Revenue                            0.00         0.00         0.00        0.00            23.55
          41009 · Damage/Smoking Fee                            0.00         0.00         0.00        0.00           466.68
          41010 · Beer & Wine Revenue                         306.81         0.00         0.00        0.00         3,643.99

           Total Income                                   150,888.23    72,813.56         0.00        0.00     1,394,845.73

           Cost of Goods Sold
             73250 · Cost of Food                           9,183.75     3,231.46      561.78         0.00       99,268.75
             73260 · Cost of Beer                             159.40         0.00        0.00         0.00        1,379.85

           Total COGS                                       9,343.15     3,231.46      561.78         0.00      100,648.60

     Gross Profit                                         141,545.08    69,582.10      -561.78        0.00     1,294,197.13

           Expense
             VOID                                               0.00         0.00         0.00       0.00             0.00
             50090 · Overhead Expense                         245.58         0.00         0.00       0.00           773.45
             66000 · Salary Expense                             0.00         0.00         0.00       0.00           109.89
             66100 · Salaries - General Management          2,284.70     1,840.22         0.00       0.00        24,687.26
             66110 · Salaries - Food & Beverage             2,119.72     1,373.55         0.00       0.00        23,681.62
             66115 · Salaries - Housekeeping               14,066.13     8,207.55         0.00       0.00       121,577.87
             66120 · Salaries - Front Office                8,297.64     4,372.77         0.00       0.00        95,691.51
             66235 · Salaries - Maintenance                 5,374.03     2,898.71         0.00       0.00        64,942.49
             66255 · Payroll Taxes                         10,104.25     5,624.13         0.00       0.00       105,279.06
             69762 · Payroll Fees - Paychex                 1,014.39       976.55         0.00     110.00        11,576.41

             69827 · Workers Compensation                    364.88      6,234.55         0.00        0.00       10,112.81
             71000 · Supplies
               71100 · Guest Rooms Supplies                    0.00         0.00         0.00       0.00     28,654.75
               71102 · Printing & Office Supplies          1,098.06         0.00         0.00       0.00      1,721.44
               71104 · Cleaning Supplies                   5,058.85         0.00    -1,891.99       0.00     17,659.06
               71150 · Linen Expense                       3,838.19        52.99         0.00       0.00      6,915.34
               71000 · Supplies - Other                    1,071.21         0.00         0.00       0.00      8,214.49

             Total 71000 · Supplies                        11,066.31        52.99    -1,891.99        0.00       63,165.08

             71220 · Uniforms                                   0.00         0.00         0.00        0.00        1,011.35
             71350 · Travel Agent Commission                5,686.02     1,820.83        20.00        0.00       24,211.67
             71880 · Travel-Meals-Lodging                   1,175.00       336.00         0.00        0.00        4,281.55
             71975 · Miscellaneous                              0.00         0.00         0.00        0.00          479.74
             73220 · License and Permits - Beverage             0.00         0.00         0.00        0.00          550.00
             73320 · Licenses and Permits                     270.00         0.00         0.00        0.00        1,130.50
             75000 · Utilities
                                                                                                                                  Page 4
10:09 AM                             No. 1:17-bk-00021     La Quinta
                                                           Doc       Inn &02/04/20
                                                               763 Filed   Suites - Summersville,  WV10:21:23
                                                                                     Entered 02/04/20                     Page 78 of
                                                                               90
                                                                        Profit & Loss
01/21/20
Accrual Basis                                                         January through December 2019

                                                             Sep 19        Oct 19      Nov 19       Dec 19      TOTAL
                75100 · Electricity                           4,457.14      1,946.77        0.00       0.00     53,516.17
                75150 · Gas                                      17.97      1,432.65   -1,554.86       0.00      5,564.72
                75152 · Water - Sewage                        2,718.77      2,223.53        0.00       0.00     22,670.28
                75153 · Waste Removal                           831.65        641.37      160.33       0.00      6,974.16
                75154 · Internet Service                          0.00          0.00        0.00       0.00      1,279.80
                75155 · Telephone Service                     2,590.63         63.00        0.00       0.00     25,461.93
                75156 · Cable TV                              2,698.05      2,537.34        0.00       0.00     28,003.97

           Total 75000 · Utilities                           13,314.21      8,844.66    -1,394.53        0.00      143,471.03

           76175 · Dues and Subscriptions                         0.00         0.00         0.00         0.00             165.00
           76460 · Chargebacks - Bad Debt                       614.78       238.73       228.52     1,250.88           3,865.59
           76500 · Service Charges
             76523 · Wire fees                                   0.00         25.00        0.00        0.00        75.00
             76500 · Service Charges - Other                     0.00          0.00        0.00        0.00         3.00

           Total 76500 · Service Charges                          0.00         25.00         0.00        0.00             78.00

           76700 · Credit Card Processing Fees
             76701 · American Express                             0.00        187.19     269.73        0.00      1,655.85
             76705 · Merchant                                    45.83         37.01       4.14        0.00        443.81
             76700 · Credit Card Processing Fees - Other      5,760.92      3,683.41   1,175.15        0.63     36,443.03

           Total 76700 · Credit Card Processing Fees          5,806.75      3,907.61     1,449.02        0.63       38,542.69

           76800.2 · Professional Fees - Accounting           2,000.00      2,000.00     2,000.00    1,150.00       17,400.00
           76840 · Postage and Delivery                           0.00        110.00         0.00        0.00          728.40
           76880 · Travel - Meals - Lodging                     962.00        517.00         0.00        0.00        2,934.00
           76950 · Miscellaneous Expense                          0.00          0.00         0.00        0.00          194.91
           77100 · Sales & Advertising
             77103 · Advertising - Billboard                  1,500.00      1,500.00       0.00        0.00     15,000.00

           Total 77100 · Sales & Advertising                  1,500.00      1,500.00         0.00        0.00       15,000.00

           77900 · Franchise Fees                            38,000.00     28,327.14         0.00        0.00      231,526.37

           78000 · Repairs & Maintenance
             78100 · Building Repairs                             0.00          0.00       0.00        0.00      3,726.84
             78104 · Fire & Safety                            4,605.34      2,655.30       0.00        0.00     12,188.58
             78106 · Pest Control                                93.00          0.00       0.00        0.00      1,276.00
             78107 · Electrical & Mechanical                    588.08          0.00       0.00        0.00      5,641.08
             78108 · Elevator                                 2,310.00          0.00       0.00        0.00      4,410.00
             78109 · HVAC                                         0.00        692.29       0.00        0.00      2,068.51
             78110 · Maintenance Supplies                       485.33        940.07       0.00        0.00      8,389.31
             78111 · Plumbing                                    64.65          0.00       0.00        0.00         64.65
             78112 · Pool & Spa Maintenance                       0.00          0.00       0.00        0.00      7,914.23
             78113 · Landscaping-Ground-Roads-Walkwa            380.03         97.34       0.00        0.00        727.37
             78114 · Small Equip. Purchase & Repair               0.00          0.00       0.00        0.00      1,151.16
             78000 · Repairs & Maintenance - Other                0.00          0.00       0.00        0.00        780.90


                                                                                                                                       Page 5
10:09 AM                          No. 1:17-bk-00021   La Quinta
                                                      Doc       Inn &02/04/20
                                                          763 Filed   Suites - Summersville,  WV10:21:23
                                                                                Entered 02/04/20                   Page 79 of
                                                                          90
                                                                   Profit & Loss
01/21/20
Accrual Basis                                                    January through December 2019

                                                        Sep 19        Oct 19       Nov 19      Dec 19      TOTAL
             Total 78000 · Repairs & Maintenance          8,526.43     4,385.00        0.00         0.00       48,338.63

             78401 · Signage                                  0.00         0.00        0.00         0.00          265.97
             78550 · Keys and Locks                           0.00         0.00        0.00         0.00           75.18
             78953 · Vehicle Expense                          0.00         0.00        0.00         0.00          149.99
             80010 · Management Fee                       2,000.00     2,000.00        0.00         0.00       18,750.00
             80400 · Property Tax - Personal                957.77       216.27        0.00         0.00       10,384.20
             80405 · Property Tax - Real                  2,656.62       599.88        0.00         0.00       24,509.46
             80450 · Property Insurance                   3,935.14       888.58        0.00         0.00       32,711.36

             80460 · General Liability Insurance              0.00         0.00        0.00       343.89        2,574.56
             85510.1 · B&O Taxes                            786.94       375.01        0.00         0.00        7,386.89
             85875 · Depreciation - Corp Equipment       73,102.98    16,507.12        0.00         0.00      674,433.94
             85880 · Amortization Expense                   344.45        77.78        0.00         0.00        3,177.83
             86000 · Unitied States Trustee Fees          4,787.16    41,310.24       58.84      -159.34       52,549.90
             87000 · Adequate Protection Payment              0.00    25,572.00        0.00         0.00      121,771.00

           Total Expense                                221,363.88   171,139.87      469.86     2,696.06     2,004,247.16

  Net Ordinary Income                                   -79,818.80   -101,557.77   -1,031.64   -2,696.06      -710,050.03

Net Income                                              -79,818.80   -101,557.77   -1,031.64   -2,696.06      -710,050.03




                                                                                                                                Page 6
4:01 PM                            No. 1:17-bk-00021      Doc 763      Filed Kanawha
                                                                             02/04/20 City
                                                                                       Entered 02/04/20 10:21:23              Page 80 of
                                                                                  90
                                                                           Balance Sheet
01/21/20
Accrual Basis                                                           As of December 31, 2019

                                                   Jan 31, 19           Feb 28, 19        Mar 31, 19        Apr 30, 19          May 31, 19        Jun 30, 19
ASSETS
  Current Assets
    Checking/Savings
       DDA FBOC KAN 1192                                 78,067.28           82,900.95         86,576.92         82,276.24           87,343.26         32,113.93

     Total Checking/Savings                              78,067.28           82,900.95         86,576.92         82,276.24           87,343.26         32,113.93

     Other Current Assets
       Prepaid Insurance                                   5,053.74           4,288.74          3,523.74          2,758.74            1,993.74          1,228.74
       Due to Due From
          CLK                                     (794,678.66)          (794,678.66)      (794,678.66)      (794,678.66)        (794,678.66)      (794,678.66)
          EKV                                      (50,289.21)           (50,289.21)       (50,289.21)       (50,289.21)         (50,289.21)       (50,289.21)
          FMT                                     (109,447.19)          (109,447.19)      (109,447.19)      (109,447.19)        (109,447.19)      (109,447.19)
          SUM                                       13,173.50             13,173.50         13,173.50         13,173.50           13,173.50         13,173.50

           Total Due to Due From                        (941,241.56)       (941,241.56)      (941,241.56)      (941,241.56)        (941,241.56)      (941,241.56)

           FBOC Escrow                                   27,000.00           27,000.00         27,000.00         27,000.00           27,000.00         27,000.00

     Total Other Current Assets                         (909,187.82)       (909,952.82)      (910,717.82)      (911,482.82)        (912,247.82)      (913,012.82)

  Total Current Assets                                  (831,120.54)       (827,051.87)      (824,140.90)      (829,206.58)        (824,904.56)      (880,898.89)

  Fixed Assets
     Accumulated Amortization                             (2,335.00)         (2,370.48)        (2,405.96)        (2,441.44)          (2,476.92)        (2,512.40)
     Accumulated Depreciation                           (405,853.39)       (412,005.29)      (418,157.19)      (424,309.09)        (430,460.99)      (436,612.89)
     Buildings and Improvements
        Accumulated Depreciation                   (49,215.20)          (49,215.20)       (49,215.20)       (49,215.20)          (49,215.20)      (49,215.20)
        Hyatt                                        9,411.33             9,411.33          9,411.33          9,411.33             9,411.33         9,411.33
        Verizon Building                           376,911.83           376,911.83        376,911.83        376,911.83           376,911.83       376,911.83
        Buildings and Improvements - Other         525,389.02           525,389.02        525,389.02        525,389.02           525,389.02       525,389.02

     Total Buildings and Improvements                   862,496.98          862,496.98        862,496.98        862,496.98          862,496.98        862,496.98

     CWIP                                                827,943.04         827,943.04        827,943.04        827,943.04          827,943.04        827,943.04
     Land                                              1,517,000.00       1,517,000.00      1,517,000.00      1,517,000.00        1,517,000.00      1,517,000.00
     Land Improvements                                 1,386,758.80       1,386,758.80      1,386,758.80      1,386,758.80        1,386,758.80      1,386,758.80

  Total Fixed Assets                                   4,186,010.43       4,179,823.05      4,173,635.67      4,167,448.29        4,161,260.91      4,155,073.53

  Other Assets
     Loan Fees - First Bank 351018                         7,664.00           7,664.00          7,664.00          7,664.00            7,664.00          7,664.00

  Total Other Assets                                       7,664.00           7,664.00          7,664.00          7,664.00            7,664.00          7,664.00

TOTAL ASSETS                                           3,362,553.89       3,360,435.18      3,357,158.77      3,345,905.71        3,344,020.35      3,281,838.64

LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
          Accounts Payable

                                                                                                                                                                   Page 1
4:01 PM                             No. 1:17-bk-00021      Doc 763      Filed Kanawha
                                                                              02/04/20 City
                                                                                        Entered 02/04/20 10:21:23              Page 81 of
                                                                                   90
                                                                            Balance Sheet
01/21/20
Accrual Basis                                                            As of December 31, 2019

                                                    Jan 31, 19           Feb 28, 19        Mar 31, 19        Apr 30, 19          May 31, 19        Jun 30, 19
              Accounts payable-Post Petition              14,824.24          14,472.10         14,203.61         14,198.89           14,196.65         13,404.13
              Accounts Payable-Pre-Petition              120,019.68         120,019.68        120,019.68        120,019.68          120,019.68        120,019.68

           Total Accounts Payable                        134,843.92         134,491.78        134,223.29        134,218.57          134,216.33        133,423.81

           Other Current Liabilities
             Due to Bill Abruzzino                         2,000.00           2,000.00          2,000.00          2,000.00            2,000.00           2,000.00
             Accrued Expenses                              1,452.14           1,457.71          2,311.72          1,873.83            2,843.94           2,130.23
             Property Taxes Payable                       37,338.07          42,672.08         48,006.09         53,340.10           58,674.11           5,334.01

           Total Other Current Liabilities                40,790.21          46,129.79         52,317.81         57,213.93           63,518.05           9,464.24

     Total Current Liabilities                           175,634.13         180,621.57        186,541.10        191,432.50          197,734.38        142,888.05

     Long Term Liabilities
       N/P Carter Bank 19180                               (3,186.40)         (3,186.40)        (3,186.40)        (3,186.40)          (3,186.40)        (3,186.40)
       N/P First Bank 330005                            1,390,969.73       1,382,978.35      1,373,405.20      1,345,272.41        1,334,964.42      1,327,006.43
       N/P First Bank 351018                              327,705.58         324,367.76        322,541.17        322,541.17          318,870.37        318,870.37

     Total Long Term Liabilities                        1,715,488.91       1,704,159.71      1,692,759.97      1,664,627.18        1,650,648.39      1,642,690.40

  Total Liabilities                                     1,891,123.04       1,884,781.28      1,879,301.07      1,856,059.68        1,848,382.77      1,785,578.45

  Equity
    Member 1 Equity                                       (29,291.04)        (29,291.04)       (29,291.04)       (29,291.04)         (29,291.04)       (29,291.04)
    Opening Balance Equity                                 21,438.15          21,438.15         21,438.15         21,438.15           21,438.15         21,438.15
    Retained Earnings                                   1,475,295.19       1,475,295.19      1,475,295.19      1,475,295.19        1,475,295.19      1,475,295.19
    Net Income                                              3,988.55           8,211.60         10,415.40         22,403.73           28,195.28         28,817.89

  Total Equity                                          1,471,430.85       1,475,653.90      1,477,857.70      1,489,846.03        1,495,637.58      1,496,260.19

TOTAL LIABILITIES & EQUITY                              3,362,553.89       3,360,435.18      3,357,158.77      3,345,905.71        3,344,020.35      3,281,838.64




                                                                                                                                                                    Page 2
4:01 PM                            No. 1:17-bk-00021     Doc 763   Filed Kanawha
                                                                         02/04/20 City
                                                                                   Entered 02/04/20 10:21:23               Page 82 of
                                                                              90
                                                                       Balance Sheet
01/21/20
Accrual Basis                                                        As of December 31, 2019

                                                 Jul 31, 19        Aug 31, 19        Sep 30, 19          Oct 31, 19         Nov 30, 19        Dec 31, 19
ASSETS
  Current Assets
    Checking/Savings
       DDA FBOC KAN 1192                               25,030.52        33,137.27         37,746.37           33,136.38          41,962.63         42,595.25

     Total Checking/Savings                            25,030.52        33,137.27         37,746.37           33,136.38          41,962.63         42,595.25

     Other Current Assets
       Prepaid Insurance                                 463.74            231.87                 0.00         7,639.11           6,944.64          6,250.17
       Due to Due From
          CLK                                    (794,678.66)      (794,678.66)      (794,678.66)        (794,678.66)       (794,678.66)      (794,678.66)
          EKV                                     (50,289.21)       (50,289.21)       (50,289.21)         (50,289.21)        (50,289.21)       (50,289.21)
          FMT                                    (109,447.19)      (109,447.19)      (109,447.19)        (109,447.19)       (109,447.19)      (109,447.19)
          SUM                                      13,173.50         13,173.50         13,173.50           13,173.50          13,173.50         13,173.50

           Total Due to Due From                    (941,241.56)      (941,241.56)      (941,241.56)        (941,241.56)       (941,241.56)      (941,241.56)

           FBOC Escrow                                 27,000.00        27,000.00         27,000.00           27,000.00          27,000.00         27,000.00

     Total Other Current Assets                     (913,777.82)      (914,009.69)      (914,241.56)        (906,602.45)       (907,296.92)      (907,991.39)

  Total Current Assets                              (888,747.30)      (880,872.42)      (876,495.19)        (873,466.07)       (865,334.29)      (865,396.14)

  Fixed Assets
     Accumulated Amortization                         (2,547.88)        (2,583.36)        (2,618.84)          (2,654.32)         (2,689.80)        (2,725.28)
     Accumulated Depreciation                       (442,764.79)      (448,916.69)      (455,068.59)        (461,220.49)       (467,372.39)      (473,524.29)
     Buildings and Improvements
        Accumulated Depreciation                 (49,215.20)       (49,215.20)       (49,215.20)         (49,215.20)        (49,215.20)       (49,215.20)
        Hyatt                                      9,411.33          9,411.33          9,411.33            9,411.33           9,411.33          9,411.33
        Verizon Building                         376,911.83        376,911.83        376,911.83          376,911.83         376,911.83        376,911.83
        Buildings and Improvements - Other       525,389.02        525,389.02        525,389.02          525,389.02         525,389.02        525,389.02

     Total Buildings and Improvements                862,496.98        862,496.98        862,496.98          862,496.98         862,496.98        862,496.98

     CWIP                                            827,943.04        827,943.04        827,943.04          827,943.04         827,943.04        827,943.04
     Land                                          1,517,000.00      1,517,000.00      1,517,000.00        1,517,000.00       1,517,000.00      1,517,000.00
     Land Improvements                             1,386,758.80      1,386,758.80      1,386,758.80        1,386,758.80       1,386,758.80      1,386,758.80

  Total Fixed Assets                               4,148,886.15      4,142,698.77      4,136,511.39        4,130,324.01       4,124,136.63      4,117,949.25

  Other Assets
     Loan Fees - First Bank 351018                      7,664.00         7,664.00          7,664.00            7,664.00           7,664.00          7,664.00

  Total Other Assets                                    7,664.00         7,664.00          7,664.00            7,664.00           7,664.00          7,664.00

TOTAL ASSETS                                       3,267,802.85      3,269,490.35      3,267,680.20        3,264,521.94       3,266,466.34      3,260,217.11

LIABILITIES & EQUITY
   Liabilities
      Current Liabilities
          Accounts Payable

                                                                                                                                                                Page 3
4:01 PM                             No. 1:17-bk-00021     Doc 763   Filed Kanawha
                                                                          02/04/20 City
                                                                                    Entered 02/04/20 10:21:23             Page 83 of
                                                                               90
                                                                        Balance Sheet
01/21/20
Accrual Basis                                                         As of December 31, 2019

                                                  Jul 31, 19        Aug 31, 19        Sep 30, 19        Oct 31, 19         Nov 30, 19        Dec 31, 19
              Accounts payable-Post Petition          13,297.96         13,416.68         13,416.68         13,550.51          13,416.68         13,416.68
              Accounts Payable-Pre-Petition          120,019.68        120,019.68        120,019.68        120,019.68         120,019.68        120,019.68

           Total Accounts Payable                    133,317.64        133,436.36        133,436.36        133,570.19         133,436.36        133,436.36

           Other Current Liabilities
             Due to Bill Abruzzino                       2,000.00        2,000.00          2,000.00          2,000.00           2,000.00          2,000.00
             Accrued Expenses                            2,460.32        1,193.57          2,098.49          1,852.03           3,449.44          1,728.69
             Property Taxes Payable                     11,108.73       16,883.45         22,658.17         23,098.87          28,873.59         34,648.31

           Total Other Current Liabilities              15,569.05       20,077.02         26,756.66         26,950.90          34,323.03         38,377.00

     Total Current Liabilities                       148,886.69        153,513.38        160,193.02        160,521.09         167,759.39        171,813.36

     Long Term Liabilities
       N/P Carter Bank 19180                          (3,186.40)         (3,186.40)        (3,186.40)        (3,186.40)         (3,186.40)        (3,186.40)
       N/P First Bank 330005                       1,314,348.44       1,303,894.91      1,292,050.93      1,279,790.68       1,267,514.74      1,254,697.66
       N/P First Bank 351018                         315,199.57         313,381.01        311,562.45        309,676.02         309,676.02        305,926.70

     Total Long Term Liabilities                   1,626,361.61       1,614,089.52      1,600,426.98      1,586,280.30       1,574,004.36      1,557,437.96

  Total Liabilities                                1,775,248.30       1,767,602.90      1,760,620.00      1,746,801.39       1,741,763.75      1,729,251.32

  Equity
    Member 1 Equity                                  (29,291.04)        (29,291.04)       (29,291.04)       (29,291.04)        (29,291.04)       (29,291.04)
    Opening Balance Equity                            21,438.15          21,438.15         21,438.15         21,438.15          21,438.15         21,438.15
    Retained Earnings                              1,475,295.19       1,475,295.19      1,475,295.19      1,475,295.19       1,475,295.19      1,475,295.19
    Net Income                                        25,112.25          34,445.15         39,617.90         50,278.25          57,260.29         63,523.49

  Total Equity                                     1,492,554.55       1,501,887.45      1,507,060.20      1,517,720.55       1,524,702.59      1,530,965.79

TOTAL LIABILITIES & EQUITY                         3,267,802.85       3,269,490.35      3,267,680.20      3,264,521.94       3,266,466.34      3,260,217.11




                                                                                                                                                               Page 4
4:01 PM                           No. 1:17-bk-00021      Doc 763     Filed Kanawha
                                                                           02/04/20 City
                                                                                     Entered 02/04/20 10:21:23       Page 84 of
                                                                                90
                                                                          Profit & Loss
01/21/20
Accrual Basis                                                      January through December 2019

                                                Jan 19         Feb 19         Mar 19       Apr 19       May 19        Jun 19       Jul 19
  Ordinary Income/Expense
       Income
          Property Tax Income                     2,581.82      2,581.82        2,498.49     2,665.15     2,665.15      2,581.82     2,498.49
          Insurance Income                          651.86        651.86          610.19       693.53       693.53        651.86       610.19
          CAM Income                              3,544.40      3,544.40        3,344.40     3,744.40     1,744.40      5,544.40     1,344.40
          Rental Income                          22,478.04     22,478.04       17,948.04    27,008.04    27,008.04     22,478.04    17,948.04
          Tenant Reimbursements                       0.00          0.00            0.00         0.00         0.00          0.00     2,000.00

           Total Income                          29,256.12     29,256.12       24,401.12    34,111.12    32,111.12     31,256.12    24,401.12

     Gross Profit                                29,256.12     29,256.12       24,401.12    34,111.12    32,111.12     31,256.12    24,401.12

           Expense
             E-Check Fee                              0.00             0.00         0.00         0.00         0.00          0.00         0.00
             Void                                     0.00             0.00         0.00         0.00         0.00          0.00         0.00
             Amortization Expense                    35.48            35.48        35.48        35.48        35.48         35.48        35.48
             Bank Service Charges                     0.00             0.00         0.00         0.00         0.00          0.00         0.00
             Business Licenses and Permits            0.00             0.00         0.00         0.00         0.00          0.00         0.00
             Depreciation Expense                 6,151.90         6,151.90     6,151.90     6,151.90     6,151.90      6,151.90     6,151.90
             Insurance Expense                      765.00           765.00       765.00       765.00       765.00        765.00       765.00
             Interest Expense
                Loan #351018                    1,661.16      3,446.20        1,565.42         0.00     3,113.22          0.00     3,113.22
                Loan #330005                    7,991.38      7,944.91        6,363.14     7,903.50     8,978.30      7,978.30     9,978.30

             Total Interest Expense               9,652.54     11,391.11        7,928.56     7,903.50    12,091.52      7,978.30    13,091.52

             Managment Fee                        1,700.00          850.00        850.00       850.00       850.00        850.00      850.00
             Professional Fees
                Accounting Fees                 1,000.00            0.00       500.00       500.00       500.00        500.00      1,000.00

             Total Professional Fees              1,000.00            0.00        500.00       500.00       500.00        500.00     1,000.00

             Tax
               B&O                                292.14        292.57          244.01       341.11       321.11        275.30       244.01
               Property                         5,334.01      5,334.01        5,334.01     5,334.01     5,334.01     13,568.36     5,774.72

             Total Tax                            5,626.15         5,626.58     5,578.02     5,675.12     5,655.12     13,843.66     6,018.73

             United States Trustee Fees             160.00          213.00        110.00       118.00       149.00        403.00        86.08
             Utilities
                Electric                         176.50             0.00       278.36       123.79       121.55        106.17       108.05

             Total Utilities                        176.50            0.00        278.36       123.79       121.55        106.17      108.05

           Total Expense                         25,267.57     25,033.07       22,197.32    22,122.79    26,319.57     30,633.51    28,106.76

  Net Ordinary Income                             3,988.55         4,223.05     2,203.80    11,988.33     5,791.55        622.61    (3,705.64)

Net Income                                        3,988.55         4,223.05     2,203.80    11,988.33     5,791.55        622.61    (3,705.64)



                                                                                                                                                 Page 1
4:01 PM                           No. 1:17-bk-00021        Doc 763        Filed Kanawha
                                                                                02/04/20 City
                                                                                          Entered 02/04/20 10:21:23     Page 85 of
                                                                                     90
                                                                               Profit & Loss
01/21/20
Accrual Basis                                                        January through December 2019

                                              Aug 19           Sep 19           Oct 19       Nov 19       Dec 19       TOTAL
  Ordinary Income/Expense
       Income
          Property Tax Income                   2,665.15         2,581.82         2,581.82     2,581.82     2,581.82    31,065.17
          Insurance Income                        693.53           651.86           651.86       651.86       651.86     7,863.99
          CAM Income                            1,744.40           844.40           844.40       844.40       844.40    27,932.80
          Rental Income                        27,008.04        22,478.04        22,478.04    22,478.04    22,478.04   274,266.48
          Tenant Reimbursements                 2,000.00         2,700.00         2,700.00     2,700.00     3,790.81    15,890.81

           Total Income                        34,111.12        29,256.12        29,256.12    29,256.12    30,346.93   357,019.25

     Gross Profit                              34,111.12        29,256.12        29,256.12    29,256.12    30,346.93   357,019.25

           Expense
             E-Check Fee                            1.49             0.00             0.00         0.00         0.00         1.49
             Void                                   0.00             0.00             0.00         0.00         0.00         0.00
             Amortization Expense                  35.48            35.48            35.48        35.48        35.48       425.76
             Bank Service Charges                   0.00             0.00             1.49         0.00         0.00         1.49
             Business Licenses and Permits         50.00             0.00             0.00         0.00         0.00        50.00
             Depreciation Expense               6,151.90         6,151.90         6,151.90     6,151.90     6,151.90    73,822.80
             Insurance Expense                    231.87           231.87           694.47       694.47       694.47     7,902.15
             Interest Expense
                Loan #351018                  1,573.45         1,573.45         1,505.58         0.00     3,034.70     20,586.40
                Loan #330005                  8,832.76         7,442.31         7,026.04     7,010.35     6,469.21     93,918.50

             Total Interest Expense            10,406.21         9,015.76         8,531.62     7,010.35     9,503.91   114,504.90

             Managment Fee                        850.00           850.00           850.00       850.00       850.00    11,050.00
             Professional Fees
                Accounting Fees               1,000.00         1,000.00         1,000.00     1,000.00      500.00       8,500.00

             Total Professional Fees            1,000.00         1,000.00         1,000.00     1,000.00       500.00     8,500.00

             Tax
               B&O                              393.91           292.56          292.56        393.11       303.47      3,685.86
               Property                       5,774.72         5,774.72          440.70      5,774.72     5,774.72     69,552.71

             Total Tax                          6,168.63         6,067.28           733.26     6,167.83     6,078.19    73,238.57

             United States Trustee Fees          (236.08)          612.36           338.66       204.30       269.78     2,428.10
             Utilities
                Electric                       118.72           118.72           258.89       159.75         0.00       1,570.50

             Total Utilities                      118.72           118.72           258.89       159.75         0.00     1,570.50

           Total Expense                       24,778.22        24,083.37        18,595.77    22,274.08    24,083.73   293,495.76

  Net Ordinary Income                           9,332.90         5,172.75        10,660.35     6,982.04     6,263.20    63,523.49

Net Income                                      9,332.90         5,172.75        10,660.35     6,982.04     6,263.20    63,523.49



                                                                                                                                     Page 2
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 86 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 87 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 88 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 89 of
                                         90
No. 1:17-bk-00021   Doc 763   Filed 02/04/20   Entered 02/04/20 10:21:23   Page 90 of
                                         90
